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   EXHIBIT B
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PHILADELPHIA RESTAURANT                :
OWNERS AGAINST LOCKDOWN, LLC :
                                       :             COURT OF COMMON PLEAS
                      Plaintiff,       :             PHILADELPHIA COUNTY
                                       :
       v.                              :             DECEMBER TERM, 2020, NO.
                                       :
JAMES KENNEY, in his official capacity :             THE HONORABLE PAULA PATRICK
as Mayor of the City of Philadelphia   :
                                       :
              AND                      :
                                       :
THOMAS A. FARLEY, in his official      :
capacity as Health Commissioner        :
                                       :
              AND                      :
                                       :
CITY OF PHILADELPHIA                   :
                                       :
              AND                      :
                                       :
PHILADELPHIA DEPARTMENT OF             :
PUBLIC HEALTH                          :
                                       :
                      Defendants.      :


             RULE TO SHOW CAUSE AND SPECIAL INJUNCTION ORDER

       AND NOW, this _________ day of ___________________________, 2020, upon

consideration of Plaintiff’s Motion for a Special and Preliminary Injunction (hereinafter

“Motion”),

       IT IS ORDERED that Defendants show cause before this Court on the _________

Day of ____________________________, 2020, at ________ a.m./p.m. in Courtroom

_________________, or as soon thereafter as counsel may be heard, why a Preliminary
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Injunction providing the relief sought in the accompanying Motion should not be entered.

                                                   BY THE COURT:



                                                   ___________________________________
                                                   THE HONORABLE PAULA PATRICK
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PHILADELPHIA RESTAURANT                :
OWNERS AGAINST LOCKDOWN, LLC :
                                       :            COURT OF COMMON PLEAS
                      Plaintiff,       :            PHILADELPHIA COUNTY
                                       :
       v.                              :            DECEMBER TERM, 2020, NO.
                                       :
JAMES KENNEY, in his official capacity :            THE HONORABLE PAULA PATRICK
as Mayor of the City of Philadelphia   :
                                       :
              AND                      :
                                       :
THOMAS A. FARLEY, in his official      :
capacity as Health Commissioner        :
                                       :
              AND                      :
                                       :
CITY OF PHILADELPHIA                   :
                                       :
              AND                      :
                                       :
PHILADELPHIA DEPARTMENT OF             :
PUBLIC HEALTH                          :
                                       :
                      Defendants.      :



                                            ORDER

   AND NOW, this ________ day of _________________________, 2020, upon consideration

of Plaintiff’s Motion for Special and Preliminary Injunction and Prayer for Declaratory Judgment

as Ancillary Relief, it is hereby ORDERED:

   1. An injunction is necessary to prevent immediate and irreparable harm to Plaintiff that

       cannot be adequately compensated by damages;

   2. Greater injury will result from refusing this injunction than from granting it; and an

       injunction will not substantially harm other interested parties from proceeding;
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   3. A preliminary injunction will properly restore the Plaintiff and Defendants to their status

       as it existed immediately before the alleged wrongful conduct;

   4. Plaintiff is likely to prevail on the merits;

   5. The instant injunction is reasonably suited to abate the offending activity; and

   6. An injunction will not adversely affect the public interest.

   It is therefore hereby ORDERED that Plaintiff’s Motion for Special and Preliminary

Injunctive Relief is GRANTED.

   Defendants are enjoined from enforcing their Emergency Restrictions including the

November 24, 2020 “Safer at Home” Restrictions, as said restrictions are found to be

unconstitutional.

   It is further ORDERED that Plaintiff’s Prayer for Declaratory Judgment as Ancillary Relief is

hereby GRANTED, Defendants’ Emergency Regulations are deemed void and unenforceable for

the following reasons:

           •   Defendants’ Emergency Regulations, including the Safer at Home Restrictions are

               violative of Plaintiff’s Constitutional and Civil Rights;

           •   Defendants’ Emergency Regulations, including the Safer at Home Restrictions

               violate the Non-Delegation and Separation of Powers of the Pennsylvania

               Constitution;
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   •   Defendants’ Emergency Regulations, including the Safer at Home Restrictions

       violate the requirements of the Philadelphia Home Rule Charter, as well as, City

       Council’s intent.




                                           BY THE COURT:



                                           ___________________________________
                                           THE HONORABLE PAULA PATRICK
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FRITZ & BIANCULLI, LLC
By:    BRIAN E. FRITZ, ESQUIRE
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PHILADELPHIA RESTAURANT                :
OWNERS AGAINST LOCKDOWN, LLC :
                                       :           COURT OF COMMON PLEAS
                      Plaintiff,       :           PHILADELPHIA COUNTY
                                       :
       v.                              :           DECEMBER TERM, 2020, NO.
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JAMES KENNEY, in his official capacity :           THE HONORABLE PAULA PATRICK
as Mayor of the City of Philadelphia   :
                                       :
              AND                      :
                                       :
THOMAS A. FARLEY, in his official      :
capacity as Health Commissioner        :
                                       :
              AND                      :
                                       :
CITY OF PHILADELPHIA                   :
                                       :
              AND                      :
                                       :
PHILADELPHIA DEPARTMENT OF             :
PUBLIC HEALTH                          :
                                       :
                      Defendants.      :


      PLAINTIFF’S MOTION FOR A SPECIAL AND PRELIMINARY INJUNCTION
       AND PRAYER FOR DECLATORY JUDGMENT AS ANCILLARY RELIEF

       Plaintiff, Philadelphia Restaurant Owners Against Lockdown, LLC, hereby files this

Motion for a Special and Preliminary Injunction and Prayer for Declaratory Judgment as Ancillary

Relief pursuant to Pennsylvania Rules of Civil Procedure §§ 1531 and 1602 against Defendants,



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James Kenney, in his official capacity as Mayor of the City of Philadelphia, Thomas A. Farley, in

his official capacity as Health Commissioner, the City of Philadelphia, and the Philadelphia

Department of Public Health, and respectfully request this Court grant their motion and issue an

injunction consistent with the Order attached hereto, and in support thereof, Plaintiff avers as

follows:

   I.      INTRODUCTION

   1. The liberties protected by the Constitution are not fair-weather freedoms that can be cast

        aside in times of trouble, including during a pandemic. Cty. of Butler v. Wolf, 2020 U.S.

        Dist. LEXIS 167544, at 99 (W.D. Pa. Sept. 14, 2020). The solution to a crisis can never be

        permitted to supersede the liberty and freedom that stands as the bedrock of our society.

        Indeed, the Constitution sets lines that may not be crossed. Id. at 100.

   2. The “Safer at Home” Restrictions, as set forth in the Emergency Order Concerning

        Additional Limitations on Visiting, Gatherings, Events and Businesses for Fall/Winter

        2020-21, Establishing Additional Safety Measures to Prevent the Spread of the 2019 Novel

        Coronavirus (COVID-19) and Continuing to Advise that Philadelphians are Safer at Home

        (hereinafter “Safer at Home Restrictions”), and adopted by the City of Philadelphia

        Department of Public Health in the Eighteenth Supplemental Emergency Regulation

        Governing the Control and Prevention of COVID-19 (Safer at Home Fall-Winter

        Restrictions), violate bedrock constitutional principles of our Commonwealth and our

        nation, namely, the prohibition against the delegation of power, and the due process right

        to work.

   3. Contrary to these constitutional guarantees, since March 2020 with emergency regulations,

        and most recently by enacting and enforcing the Safer at Home Restrictions, Defendants



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   have encroached into impermissible territory across all three (3) branches of government –

   legislative, executive, and judicial.

4. The accrual of this unchecked power by Defendants is antithetical to the constitutional

   principles set forth in the founding of our nation. As the Pennsylvania Supreme Court has

   held: "[t]he accumulation of all powers, legislative, executive, and judiciary, in the same

   hands . . . may justly be pronounced the very definition of tyranny." See Protz v. Workers’

   Comp. Appeal Bd., 639 Pa. 645, 656 (2017) The Federalist No. 47 (J. Cooke ed. 1961)

5. Additionally, the Safer at Home Restrictions, by placing arbitrary and unjustified

   restrictions across entire industries, such as indoor dining and catering, impermissibly

   impedes on the freedom to work.

6. As set forth by Justice Douglas of the United States Supreme Court:

          The right to work, I had assumed, was the most precious liberty that man possesses.
          Man has indeed as much right to work as he has to live, to be free, to own property.
          The American ideal was stated by Emerson in his essay on Politics, 'A man has a
          right to be employed, to be trusted, to be loved, to be revered.' It does many men
          little good to stay alive and free and propertied, if they cannot work. To work means
          to eat. It also means to live. For many it would be better to work in jail, than to sit
          idle on the curb. The great values of freedom are in the opportunities afforded man
          to press to new horizons, to pit his strength against the forces of nature, to match
          skills with his fellow man.

          Barsky v. Board of Regents of University of State of New York, 347 U.S. 442, 472
          (1954) (Douglas, J., dissenting).

7. An economy is not a machine that can be shut down and restarted at will by government.

   It is an organic system made up of free people each pursuing their dreams. The ability to

   support oneself is essential to free people in a free economy. Butler, 2020 U.S. Dist. LEXIS

   167544, at 92. The ability to earn a living by pursing one's calling and to support oneself

   and one's family is not an economic good, it is a human good. Id. at 93.




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8. This essential right and human good is trampled by the ongoing arbitrary, unconstitutional

   actions of Defendants, and most recently with the “Safer at Home” Restrictions.

9. Arbitrary has been defined by the Pennsylvania Supreme Court as “based on random or

   convenient selection or choice rather than on reason or nature.” Thunberg v. Strause, 545

   Pa. 607 (1996). As set forth at greater detail herein, the Defendants’ ongoing restrictions,

   and most recently the Safer at Home Restrictions, have never been supported with data, or

   undergone any of the constitutional and procedural safeguards required to ensure that

   regulations are not ad hoc and irrational.

10. This Honorable Court should not stand for such an unprecedented power grab and

   shockingly arbitrary shutdown by the Defendants, and must enjoin them from continuing

   to violate the rights of the citizens of Philadelphia.

11. A preliminary injunction is designed to preserve the subject of the controversy in the

   condition in which it is when the order is made, it is not to subvert, but to maintain the

   existing status quo until the legality of the challenged conduct can be determined on the

   merits." Greater Nanticoke Area Education Association v. Greater Nanticoke Area

   School District, 938 A.2d 1177, 1183 (Pa. Cmwlth. 2007).

12. Plaintiff is entitled to an injunction because they are suffering ongoing and irreparable

   harm in the deprivation of their constitutional rights, which is causing them a greater

   injury than would be caused if the Defendants were enjoined from enforcing their

   perpetual Emergency Restrictions which have cumulated in the present Safer at Home

   Restrictions. A preliminary injunction would preserve the status quo. Plaintiff is likely to

   prevail on the merits of this case, as the Defendants have engaged in multitudes of

   unconstitutional conduct, as referenced herein, and an injunction would abate the



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      offending conduct by invalidating their ongoing regulations, including the Safer at Home

      Restrictions. The public clearly has an interest maintaining the guaranteed rights of the

      United States’ Constitution and Pennsylvania Constitution, including the right to work,

      and the right to be free from usurpation of power by administrative agencies.

II.      BASIS FOR RELIEF /FACTUAL BACKGROUND

1. On March 11, 2020, Defendant, Mayor James Kenney, entered an Order suspending the

      legislative provisions afforded under Philadelphia Code § 8-407.

2. In conjunction with this suspension, Defendants, Dr. Tom Farley (a pediatrician) and the

      Philadelphia Board of Health, issued the first of eighteen Emergency Regulations.

3. These regulations effectively closed gyms, catering halls, restaurants and other businesses.

4. In the months that followed, Defendant, Dr. Tom Farley (a pediatrician), allowed the closed

      businesses to re-open on a limited basis and with restrictions in place.

5. These initial business lock downs and ongoing operating restrictions were premised on a

      notion that these businesses were likely to cause the spread of the COVID virus.

6. Over the course of the next 281 days (March 11, 2020 to December 17, 2020), Defendants

      had the opportunity to engage in efforts and scientific methodology to determine if their

      initial hunches and guesses were correct.

7. To date, Defendants have provided no evidence that the gyms, restaurants or catering halls

      or other businesses had/have contributed to the COVID infections in the City of

      Philadelphia.

8. To date, Defendants have provided no information on what efforts, if any, they took to

      determine if operating limitations imposed on gyms, restaurants or catering halls in

      Philadelphia were effective.



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9. To date, Defendants have provided no information on what efforts they undertook or the

   results of same to determine whether any other businesses contributed to the spread of

   COVID.

10. To date, Defendants have provided no information to support their notion that Philadelphia

   gyms, restaurants or catering halls are more likely contributors to the spread of COVID

   than other businesses or activities.

11. To date, Defendants have provided no information to support their notion that lockdowns

   of Philadelphia gyms, restaurants or catering halls actually mitigates the spread of COVID.

12. In fact, the last published meeting minutes of the Board of Health indicate the following:

        •   Gyms in Philadelphia were largely compliant with COVID restrictions

        •   Philadelphia had more restrictions on restaurants than the surrounding suburbs

        •   The less restrictive suburbs reported that they had seen no increase in COVID

            infections related to restaurants

            See infra.

13. From March 11, 2020 to present, Defendant, Dr. Tom Farley (a pediatrician), has

   referenced and relied upon the Centers for Disease Control (CDC) as an authority on the

   COVID virus.

14. On November 18, 2020, the CDC published guidelines for dining establishments related to

   COVID mitigation. See infra.

15. Nowhere in these published guidelines did the CDC ever mention, discuss or recommend

   lockdowns of restaurants as a necessary step to prevent the spread of COVID. Id.

16. The CDC Guidelines expect that restaurants would continue to operate, and do not express

   the looming fear that the Board of Health has promoted without substantiation.


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17. For example, the CDC sets forth as follows:




   See Infra.

18. The CDC, the authority relied upon and referenced by Defendants, does not share or

   support the Defendants’ pessimism regarding restaurants.

19. In fact, the tone and content of the CDC guidelines for restaurants paint a picture of an

   expectation that restaurants can and will continue to be open and operational.

20. The CDC does not remotely state, suggest or imply that the Draconian action of shut downs

   is necessary, warranted or even effective.

21. To the contrary, the CDC actually says that restaurants can implement several strategies

   that reduce the spread of COVID.


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22. The contrast between the authority in the field, the CDC, versus Defendants, Dr. Tom

   Farley and the Philadelphia Health Department, begs specific questions that have never

   been answered:

       •   What has the Philadelphia Department of Health compiled to reach such a drastic

           conclusion that shut downs are a remedy?

       •   What has the Philadelphia Department of Health relied upon to reach its

           conclusions that are so starkly different from the Center for Disease Control?

       •   What studies has the Philadelphia Department of Health commissioned or

           conducted regarding Philadelphia based businesses and the spread of COVID since

           March 2020?

       •   What has the Philadelphia Department of Health done to determine that continuing

           the implementation of restrictions during restaurant operations would be less

           effective than a full shut down of an entire industry?

       •   What exactly is the “science” that the Philadelphia Department of Health has either

           compiled, generated or relied upon to justify an of the restrictions that it has

           implemented since March 2020?

23. Notwithstanding the lack of CDC support of lockdowns in relation to COVID, Defendant,

   Dr. Tom Farley (a pediatrician), issued an Order to close indoor dining, gyms and catering

   halls in the City.

24. This Order went into effect on November 20, 2020, two days after the aforementioned

   guidelines of the CDC.




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25. For nearly one year, the Defendants have acted as the legislative, executive and judicial

   branches ruling over the City and wielding power through perpetual “Emergency”

   regulations.

26. There is no evidence that the Defendants have engaged or consulted with City Council, the

   actual legislative body of the City, in relation to the enactment of COVID restrictions.

27. There is no evidence that the Defendants intend to yield their unprecedented consolidation

   of power.

28. The actions of the Defendants against the business owners subject to the November 20,

   2020, lockdowns supports that position, as well as the instant application and requirement

   for judicial relief.

       a. THE BOARD OF HEALTH HAS ENGAGED IN INTIMIDATION
          TACTICS AGAINST BUSINESS OWNERS

29. As soon as the lockdown regulations went into effect, Board of Health inspectors began to

   descend on restaurant owners to issue citations, threaten and close businesses down entirely

   for periods of 48 hours or more.

30. To display their power, the Health Inspectors would arrive at establishments accompanied

   by multiple Pennsylvania State Troopers, with as many as 20 troopers with them.

31. This complement of State Troopers may be something expected with the apprehension of

   a dangerous fugitive, but it is entirely illogical with enforcing COVID regulations.

32. In fact, the only logical explanation for such an unnecessary show of force is to scare and

   intimidate business owners, while simultaneously placing them on display for public

   ridicule and stigmatization.




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       b. THE BOARD OF HEALTH ISSUES CEASE OPERATION ORDERS
          BASED ON NON-EXISTENT OR INAPPLICABLE CODE SECTIONS

33. To further their lockdown order, the Board of Health is issuing cease operation orders that

   must be posted on the front windows of businesses.

34. The Board of Health has issued these cease operation orders on the basis of Philadelphia

   COVID Code §§70.0.1, 70.0.2, 70.0.3 and 70.0.4.

35. However, these sections DO NOT EXIST in the Philadelphia Code and the Philadelphia

   City Council never passed any such sections.

36. This reference is the belief that the Board of Health’s regulations are NOW the Philadelphia

   Code, which it does not have the power to do.

37. Further, the Board of Health has issued COVID cease operation orders pursuant to §§6-

   205, 6-206 and 19-2602. These sections actually state as follows:

   Title 6. Health Code
   Chapter 6-200. Preventive Medicine


   § 6-205. Emergency Epidemic Control.

     (1) Where a communicable disease which constitutes a serious danger to health is
     spreading either in the City or in the communities surrounding the City, and threatens to
     reach epidemic proportions unless immediately controlled; where the danger thereof is
     such that the Board does not have time to list the said disease as quarantinable and issue
     regulations for its effective control; and where the Mayor of the City has suspended the
     requirements of Section 8-407 of the Charter, the Department shall have the authority to
     issue orders, which shall be effective until the Board may meet and promulgate
     regulations, listing said disease as a quarantinable disease and providing for quarantine
     or isolation of persons who have, or are reasonably suspected of having, or have been
     exposed to such disease, providing for the control of animals, the control of
     environmental sanitation, and for such other measures as are necessary to prevent the
     spread of said disease.

   § 6-206. Prevention of Congregation of Persons.

     (1) Whenever an epidemic of a listed quarantinable disease or whenever an emergency
     as described in subsection 6-205(1) is found to exist or to be seriously threatened, the

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     Department may in accordance with the regulations of the Board, or by order, as the
     case may be, forbid congregation of persons at schools, theaters, swimming places, or
     any public place where such measure is necessary to prevent the spread of such disease.

   Title 19. Finance, Taxes and Collections
   Chapter 19-2600. Business Income and Receipts Taxes

   § 19-2602. Licenses.

    (1) Every person desiring to engage in or to continue to engage in any business within
        the City of Philadelphia shall, whether or not such person maintains a place of
        business in the City, prior to engaging in such business, procure a commercial
        activity license from the Department of Licenses and Inspections. A person
        exclusively engaged in a hobby or other not-for-profit activity, excluded from the
        definition of business set forth in Section 19-2601, shall not be required to procure
        or maintain a commercial activity license.

     (2) There shall be no fee for the issuance of the business privilege license required by
         this Section...

38. The foregoing Code sections are entirely inapplicable to any basis for closure of a business

   for purported COVID violations.

39. The Board of Health clearly has no idea what is or is not a violation, but is intent on citing

   these business owners for something and closing their businesses down for days on end.

40. Business owners cannot comply with non-existent code sections or sections that have

   absolutely nothing to do with COVID restrictions.

41. In fact, what business owners should or should not do is not known and is strictly left to

   the whimsical and subjective determination of the Health Inspector.

42. The Health Inspectors when concluding an outdoor tent arrangement is “non-compliant”

   they have refused to provide their basis stating “I cannot say, because you will hold me to

   it.”

43. In essence, the Board of Health has created a Kafkaesque game of “Go Fish” for the

   Business Owners as they have no idea what they have violated, how they can be in



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   compliance or what the inspector may find wrong at any given “COVID” inspection.

   However, their businesses continue to be closed by the Health Department.

       c. THE BOARD OF HEALTH HAS ENGAGED IN THREATS AGAINST
          BUSINESS OWNERS

44. In the process of attempting to appease the Board of Health and have cease operations

   orders lifted, Business Owners have been confronted with Health Inspectors threatening to

   force the owners to remove outdoor tents or state that the business needs additionally

   permits from the department of Licenses and Inspections (L&I).

45. In fact, the Health Inspectors have threatened to bring L&I to the location for a “full

   inspection” of the premises.

46. What is implied with that threat, is the prospect of L&I possibly issuing fines, requiring

   additional construction or possibly declaring that some other forms of operation permits

   are required. All of which serves to add potential costs to the business owners, who are

   already on financial life support.

47. The Health Inspectors have even refused to return to locations for a “re-inspection,” which

   leaves the cease operations orders in place with an ongoing loss of revenue.

48. To the extent these business owners have been able to expend the vast sums to provide for

   “outdoor dining” in the Winter months in Philadelphia, they are now burdened with the

   Health Department threatening to increase their costs or subject the business owners to the

   threat of additional inspections, fines and extended cease operations orders.

       d. THE BOARD OF HEALTH’S DETERMINATION OF WHICH
          BUSINESSES MUST BE LOCKDOWNED AND WHICH BUSINESSES
          CAN REMAIN OPEN IS INEXPLICABLE AND ARBITRARY

49. Defendants have now reverted to the business closures that existed in March 2020.




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50. However, since the initial Orders were put in place, the Defendants have failed to provide

   any information or scientific validation that closing gyms, restaurants and/or catering halls

   actually achieves their stated purpose.

51. In fact, Defendants’ determination of what is safe versus unsafe has not been explained.

52. Thus, one is left to their own attempts to reach a logical conclusion, which proves to be a

   maddening Sisyphean endeavor.

53. For example, the Defendants have failed to explain how the COVID virus behaves so

   differently in big box retail stores versus a restaurant or a gym.

54. Or, how dining in an outdoor enclosure in the Winter months is safer than the more

   traditional dining setting at an indoor table.

55. The Defendants have had almost one year to prove or disprove their hunches and theories;

   however, their lack of produced information on these issues suggests they have failed to

   do so.

56. The Defendants have issued regulation after regulation impacting businesses based on their

   beliefs without providing the necessary support, which should not have to be requested.

57. At present, the Defendants have condemned business owners and their employees to

   economic annihilation, while they watch other businesses, including the City operated

   Christmas Village, flourish and be packed with patrons.

58. Our Courts and the Framers of our State and Federal Constitutions prophetically

   anticipated that consolidation of power into one group would lead to arbitrary decision

   making when left unchecked, and they prohibited such occurrences.

59. The present Safer at Home restrictions, as well as the perpetual Emergency powers of the

   Defendants provide a concrete and real-life depiction of what our Supreme Court and the



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   Framers provided safeguards against, as the actions of Defendants and the application of

   their restrictions squarely fits within our Supreme Court’s definition of arbitrary: “based

   on random or convenient selection or choice rather than on reason or nature.” Thunberg v.

   Strause, 545 Pa. 607 (1996).

60. The Defendants’ ad hoc regulations, which are heavy on fear, and light on facts, have led

   to absurd results. We are living in a city where this is “legal:”




                            Christmas Village packed with guests




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But this is illegal, and will result in numerous fines and a cease operations order:




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Where Walmart is allowed to operate like this:




              Photo taken at the South Philadelphia Walmart on 12/17/20




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       But, this indoor dining is forbidden:




III.      THE PENNSYLVANIA CONSTITUTION PROHIBITS THE DELEGATION
          OF POWERS

59. Pennsylvania Constitution states that "[t]he legislative power of this Commonwealth shall

       be vested in a General Assembly, which shall consist of a Senate and a House of

       Representatives." See PA CONST. art. II, § 1.

60. When the General Assembly empowers some other branch or body to act, our

       jurisprudence requires "that the basic policy choices involved in 'legislative power' actually

       be made by the legislature as constitutionally mandated." Tosto v. Pa. Nursing Home Loan

       Agency, 331 A.2d 198, 202 (Pa. 1975).

61. This constraint against the delegation of power serves two purposes. First, it ensures that

       duly authorized and politically responsible officials make all the necessary policy


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   decisions, as is their mandate per the electorate. Wm. Penn Parking Garage, Inc. v. City of

   Pittsburgh, 346 A.2d 269, 291 (Pa. 1975) (emphasis added). And second, it seeks to

   protect against the arbitrary exercise of unnecessary and uncontrolled discretionary

   power. Id.(emphasis added)

62. At the heart of the non-delegation doctrine is the tenet that the General Assembly cannot

   delegate "to any other branch of government or to any other body or authority" the power

   to make law. See State Bd. of Chiropractic Exam'rs v. Life Fellowship of Pa., 272 A.2d

   478, 480 (Pa. 1971). Or, as John Locke put it, legislative power consists of the power "to

   make laws, and not to make legislators." Protz v. Workers’ Comp. Appeal Bd., 639 Pa. 645,

   655 (2017) (citing JOHN LOCKE, SECOND TREATISE                OF   GOVERNMENT 87 (R. Cox

   ed.1982)).

63. Indeed, the rule against delegation of power is essential to the American system of

   representative government. The framers of the Constitution believed that the integrity of

   the legislative function was vital to the preservation of liberty. See Dep't of Transp. v. Ass'n

   of Am. Railroads, 135 S.Ct. 1225, 1237 (2015) (Alito, J., concurring) ("The principle that

   Congress cannot delegate away its vested power exists to protect liberty.")

64. Our Courts have frequently reviewed “delegation of powers” cases and placed significant

   restraints on agencies, such as the Department of Public Health, that make laws and

   regulations pursuant to their purported delegated authority.

65. For example, in Tosto v. Pennsylvania Nursing Home Loan Agency, 331 A.2d 198 (Pa.

   1975), the Pennsylvania Supreme Court reviewed a taxpayer’s lawsuit seeking an

   injunction of the Nursing Home Loan Agency Law, which was passed by the defendant,

   and stressed the importance of procedural mechanisms that serve to limit or prevent the



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   arbitrary and capricious exercise of delegated power. The statute at issue in Tosto required

   that the administrative agency establish neutral operating procedures, develop standardized

   documents, and give the public notice of proposed agency rules and regulations before

   promulgating them. Id. at 204. Although the Court upheld the law, it found that such

   procedural mechanisms were “important safeguards against the arbitrariness of ad hoc

   decision-making.” Id.

66. As discussed more fully herein, the procedural safeguards and requirements identified by

   the Tosto court are not present in Defendants’ actions in the present matter, or in the Safer

   at Home Restrictions.

67. Likewise, in W. Phila. Achievement Charter Elementary Sch. v. Sch. Dist. of Phila., 635

   Pa. 127 (2016), the Pennsylvania Supreme Court reviewed provisions in the Public School

   Code that gave sweeping power to the School Reform Commission to improve the finances

   of distressed Philadelphia public schools, with very few procedural restrictions. The Court

   found that this delegation of power was unconstitutional, and violated the non-delegation

   doctrine, because it did not include concrete measures to channel the Commission's

   discretion to wield its suspension power, nor did it include safeguards to protect

   against arbitrary, ad hoc decision making, such as a requirement that the Commission

   hold hearings, allow for public notice and comment, or explain the grounds for its

   suspensions in a reasoned opinion subject to judicial review. Id. at 142-43 (emphasis

   added).

68. The issues and concerns that formulated the basis for the holding in W. Phila. Achievement

   Charter Elementary Sch. are identical to our present situation, except the Safer at Home




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   Restrictions and the Defendants’ actions since March 2020 provide the actual manifestation

   of the Pennsylvania Supreme Court’s prophetic concerns, versus a theoretical potential.

69. In Protz v. Workers’ Comp. Appeal Bd., 639 Pa. 645 (2017), the Pennsylvania Supreme

   Court invalidated Section 306(a.2) of the Workers’ Compensation Act (“Act”) for violating

   the non-delegation doctrine. Section 306(a.2) permitted employers to demand an injured

   claimant undergo an evaluation to determine their level of impairment. Id. at 650. The

   Act required physicians determine a claimant’s level of impairment using guidelines set

   forth by the American Medical Association (“AMA”). Id. After being denied a permanent

   impairment rating, Plaintiff appealed, and claimed that Section 306(a.2), and its reliance

   on guidelines set forth by the AMA, was an unconstitutional delegation of power from the

   General Assembly to the AMA. The Pennsylvania Supreme Court agreed, and found

   Section 306(a.2) unconstitutional. Id. at 668. The Court found that the AMA failed to rely

   on a standardized methodology to create their guidelines. Id. at 658. They were, in

   essence, free to change their guidelines as frequently or as infrequently as they wished. Id.

   at 659. Thus, the AMA had de facto, unfettered control over Pennsylvania’s Workers’

   Compensation Act. Id. In striking down the law, the Court held:

          The Pennsylvania Constitution prevents the General Assembly from passing off to
          another branch or body de facto control over matters of policy. As we have
          explained, this is exactly what the General Assembly did in Section 306(a.2).
          Because we must enforce Article II, Section 1 [of the Pennsylvania Constitution]
          without consideration of the exigencies that arise or "how trying our economic or
          social conditions become"… Section 306(a.2) violates the non-delegation doctrine.

          Id. at 668.

70. The Safer at Home Restrictions embody the concerns raised with the unconstitutional

   delegation of power in Protz. There is no standardized methodology or definition provided

   in the Safer at Home Restrictions as to why some businesses must shut down entirely, such

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      as indoor catering, while others are permitted to remain open, like national big-box

      retailers. Since there is no standardization to their methodology, the Defendants have been

      allowed to change their guidelines at will, as frequently or infrequently as they please, with

      no time constraints. Accordingly, the Safer at Home Restrictions are the very definition of

      arbitrary.


IV.       THE SAFER AT HOME RESTRICTIONS ARE UNCONSTITUTIONAL
          BECAUSE THEY VIOLATE THE NON-DELEGATION OF POWERS
          DOCTRINE

          a. BACKGROUND

71. On November 16, 2020, Defendant Kenney signed the Emergency Order Concerning

      Additional Limitations on Visiting, Gatherings, Events and Businesses for Fall/Winter

      2020-21, Establishing Additional Safety Measures to Prevent the Spread of the 2019 Novel

      Coronavirus (COVID-19) and Continuing to Advise that Philadelphians are Safer at Home

      (hereinafter “Safer at Home Restrictions”). See Safer at Home Restrictions, attached as

      Exhibit “A.” The Safer at Home Restrictions went into “law” at 5 p.m. on November 20,

      2020, and expire at the end of the day on January 1, 2021. See Exhibit “A” at p. 11. The

      Safter at Home Restrictions place a total ban on indoor on-site dining, catering, and gyms.

      See Exhibit “A” at §§ 5(A), 5(C) and 8(a).

72. On November 24, 2020, Defendant, City of Philadelphia, by and through Defendant, the

      Department of Public Health, adopted the Safer at Home Restrictions in its entirety, and

      enacted emergency regulations consistent thereto.           See Eighteenth Supplemental

      Emergency Regulation Governing the Control and Prevention of COVID-19 (Safer at

      Home Fall-Winter Restrictions), attached as Exhibit “B.”




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       b. LEGISLATIVE POWER BELONGS TO                            CITY     COUNCIL, NOT
          ADMINISTRATIVE  AGENCIES    LIKE                        THE       PHILADELPHIA
          DEPARTMENT OF PUBLIC HEALTH

73. However, legislative power of the City of Philadelphia rests exclusively with an elected

   City Council. This is codified in Philadelphia Home Rule Charter §1-101, which says

   “[t]he legislative power of the City… shall be exclusively vested in and exercised by a

   Council, subject only to the provisions of this charter.” See Philadelphia Home Rule

   Charter § 1-101.

74. The Department of Public Health was also created pursuant to the Philadelphia Home

   Rule Charter to administer and enforce statutes, ordinances, and regulations relating to

   public health. See Philadelphia Home Rule Charter § 5-300(a).

75. Pursuant to Philadelphia Home Rule Charter §5-301(b), the Board of Health was created

   to make “reasonable regulations, not contrary to any statute or ordinance, for the

   preservation and promotion of the health of the people of the City.” See Philadelphia

   Home Rule Charter §5-301(b).

76. Critically, the Board of Health’s power is limited and distinct from the legislative

   function of City Council. As set forth in the notes to Philadelphia Home Rule Charter

   §5-301, “[t]he power of the Board to make regulations is, under existing case law, an

   administrative function. The Board, cannot, therefore, legislate. [Legislating] remains a

   function of the Council.” See Philadelphia Home Rule Charter §5-301 at n. 3.

77. Philadelphia Code §§ 6-205 and 6-206 set forth emergency scenarios under which the

   Department of Health and Board of Health may act. See Philadelphia Code §§ 6-205 and

   6-206.

78. Philadelphia Code § 6-205 relates to emergency epidemic control, and provides:



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           Where a communicable disease which constitutes a serious danger to health is
           spreading either in the City or in the communities surrounding the City, and
           threatens to reach epidemic proportions unless immediately controlled; where the
           danger thereof is such that the Board does not have time to list the said disease as
           quarantinable and issue regulations for its effective control; and where the Mayor
           of the City has suspended the requirements of Section 8-407 of the Charter, the
           Department shall have the authority to issue orders, which shall be effective until
           the Board may meet and promulgate regulations, listing said disease as a
           quarantinable disease and providing for quarantine or isolation of persons who
           have, or are reasonably suspected of having, or have been exposed to such
           disease, providing for the control of animals, the control of environmental
           sanitation, and for such other measures as are necessary to prevent the spread of
           said disease.

           See Philadelphia Code § 6-205.

79. Philadelphia Code § 6-206 enables the Philadelphia Board of Health to enact restrictions

   on the congregation of persons during an epidemic:

           Whenever an epidemic of a listed quarantinable disease or whenever an
           emergency as described in subsection 6-205(1) is found to exist or to be seriously
           threatened, the Department may in accordance with the regulations of the Board,
           or by order, as the case may be, forbid congregation of persons at schools,
           theaters, swimming places, or any public place where such measure is necessary
           to prevent the spread of such disease.

           See Philadelphia Code § 6-206.

80. Since March 2020, the Defendants have been acting pursuant to §§ 6-205 and 6-206 in an

   absolute and unchecked manner. This has now emerged in the most resent Safer at Home

   Restrictions presently in effect, and discussed herein.

       c. THE DEPARTMENT OF HEALTH HAS IMPERMISSIBLY ENGAGED IN
          LAW MAKING AND HAS FAILED TO FOLLOW PROCEDURAL
          LIMITATIONS AND REQUIREMENTS

81. The protocol and procedure that must be followed by the Defendants for enacting

   regulations is set forth in Philadelphia Home Rule Charter § 8-407, which provides that a

   department, board, or commission promulgating a regulation shall first submit them for

   approval to the Law Department, and, upon receiving approval from the Law Department,

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        file the regulation with the Department of Records, where the regulation shall be available

        for public inspection for thirty (30) days. See Philadelphia Home Rule Charter § 8-407(a).

        The Department of Records shall give public notice of the regulation by advertising in three

        (3) daily newspapers, advising that any person affected by the regulation may request a

        hearing. If a person affected by the regulation requests a hearing, then he/she shall be

        afforded a public hearing before the department. See Philadelphia Home Rule Charter §

        8-407(b)-(c).

    82. Critically for purposes of this motion, “the requirements of [Philadelphia Home Rule

        Charter § 8-407] may be suspended by the Mayor in writing and temporary regulations

        promulgated in emergencies affecting the public health or safety, but any regulations so

        put into force shall NOT remain effective unless the procedures otherwise required

        by this section are complied with forthwith.” See Philadelphia Home Rule Charter § 8-

        407 (emphasis added).1

    83. As the notes to Philadelphia Home Rule Charter § 8-407 explain, administrative agencies,

        such as Defendant, Philadelphia Department of Public Health, may not legislate. See

        Philadelphia Home Rule Charter § 8-407 at n. 2 (emphasis added). The requirement to

        hold a hearing forthwith is intended to protect persons who will be affected by arbitrary

        administrative action. See Philadelphia Home Rule Charter § 8-407 at n. 3 (emphasis

        added).

    84. Although emergencies affecting the public health or safety may require immediate action

        through regulations, and regulations in emergencies may go into force immediately if the



1
  Defendant Kenney did, in fact, suspend the formal requirements of §8-407 in writing on March 11, 2020. But, as
referenced herein, the Defendants are required to comply with the plain-language and spirit of the law immediately
thereafter. They have failed to do so.

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   Mayor suspends the procedural requirements of § 8-407, “for such temporary regulations

   to remain effective, the steps normally required by this section must immediately be

   initiated and followed.” See Philadelphia Home Rule Charter § 8-407 at n. 11 (emphasis

   added).

       d. THE DEFENDANTS HAVE FAILED TO FOLLOW THE SPECIFIC
          PROCEDURAL REQUIREMENTS OF § 8-407, THUS THEIR
          REGULATIONS INCLUDING THE SAFER AT HOME REGULATIONS
          ARE VOID

85. Presently, the restrictions at issue have been elongated by the unquestioned “suspension”

   of § 8-407 by Defendant Kenney on March 11, 2020. That order has been in place for 9

   months and 6 days, without the procedural requirements of § 8-407 being observed.

   Therefore, the failure to follow the required procedures renders the Mayor’s emergency

   suspension of §8-407 , and the 18 derivative “emergency” orders and regulations issued by

   the Philadelphia Department of Heath and the Board of Heath VOID.

86. The Philadelphia Home Rule Charter specifically prohibits the Defendants’ actions. It

   states that the procedural safeguards against arbitrary regulations must be immediately

   followed, or else the temporary, emergency regulations cannot remain effective because

   administrative agencies cannot legislate and create new law. See Philadelphia Home

   Rule Charter § 8-407 at n. 2.

87. Despite the limitations built into the Philadelphia Home Rule Charter and the Pennsylvania

   Constitution– namely, that only City Council may pass legislation, that agencies must

   follow a specific protocol to prevent passing arbitrary regulations, that administrative

   agencies are restricted from acting as legislative bodies, and the non-delegation doctrine –

   the Defendants have violated all procedural and constitutional norms in passing the “Safer

   at Home Restrictions.”

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88. The Defendants’ actions are analogous to the unconstitutional delegation of power in W.

   Phila. Achievement Charter Elementary Sch., where the Pennsylvania Supreme Court

   invalidated the Public School Code because the School Reform Commission was not

   mandated to hold hearings, allow for public notice and comment, or explain the grounds

   for its suspensions in a reasoned opinion subject to judicial review. See W. Phila.

   Achievement Charter Elementary Sch. v. Sch. Dist. of Phila., 635 Pa. 127 (2016). Here, the

   Defendants have simply disregarded all requirements to provide notice, allow for public

   comment, and explain the rationale behind their decision-making. Failing to follow these

   critical safeguards allows for ad hoc policymaking, in contravention of the Pennsylvania

   Constitution.

89. The Defendants’ conduct is also comparable to the unconstitutional behavior in Protz,

   because they have gained de facto control over all legislation surrounding COVID-19, and

   maintain unfettered, never-ending discretion to pass laws without following the procedural

   requirements. See Protz v. Workers’ Comp. Appeal Bd., 639 Pa. 645 (2017). The

   Defendants then get to serve as prosecutor, judge and jury – enforcing their regulations,

   and imposing their own fines and sanctions for failing to comply.

90. With regard to the procedural safeguards of Philadelphia Home Rule Charter § 8-407, the

   Defendants have:

       a. Failed to provide public inspection of the emergency regulations;

       b. Failed to provide public notice of the emergency regulations;

       c. Failed to allow affected citizens to request a hearing;

       d. Failed to hold a public hearing;




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         e. Failed to not act arbitrarily in the creation and imposition of the Safer at Home

            Regulations;

         f. Attempted to legislate by failing to set forth a time-limit on the Safer at Home

            Regulations.

91. While Philadelphia Code §§ 6-205 and 6-206 provide the authority to declare the spread of

   disease such as the novel coronavirus, COVID-19, an epidemic, and take steps to prevent

   the spread of the disease, this authority is limited by the procedural protections of the

   Philadelphia Home Rule Charter §8-407, as referenced in the law itself. Specifically,

   when the Mayor orders the suspension of the procedural requirements of Philadelphia

   Home Rule Charter § 8-407, then the Philadelphia Department of Health and Board of

   Health may enact regulations immediately, without following the usual requirements of the

   Philadelphia Home Rule Charter § 8-407, such as public notice and inspection for thirty

   (30) days, with the opportunity for an affected person to request a hearing prior to the

   enactment of the regulation. However, as previously referenced, the Philadelphia

   Department of Public Health does not have carte blanche authority to enact regulations

   that are free from public scrutiny by affected persons. The Philadelphia Home Rule Charter

   § 8-407 provides that, after a regulation is enacted emergently under the Mayor’s

   emergency powers, the regulations put into force will not remain effective unless the

   usual procedural requirements are immediately followed. See Philadelphia Home Rule

   Charter § 8-407(c). The steps normally required to enact regulations, such as providing

   public notice of their ability to request a hearing, and holding a public hearing, must be

   immediately initiated, and followed. See Philadelphia Home Rule Charter § 8-407 at n.

   11.



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92. Thus, even under the authority provided by Philadelphia Code §§ 6-205 and 6-206, the

   Defendants have failed to comply with the procedural requirements since March 2020 –

   over 9 months. Likewise, the manifestation of their most recent transgression – the Safer

   at Home Restrictions – fail to comply.

93. Since the Safer at Home Restrictions failed to comply with the law and should be enjoined,

   as they are procedurally void. As referenced herein, Defendants failed to follow the

   procedural steps that must be immediately initiated after enacting emergency regulations,

   including failing to provide public notice to allow persons affected by the Safer at Home

   Restrictions to request a hearing, and failing to hold a public hearing (via remote

   technology or otherwise) with persons affected by the Safer at Home Restrictions, despite

   the requirement that the procedure be followed “forthwith.” Accordingly, pursuant to the

   Philadelphia Home Rule Charter § 8-407, “any regulations so put into force shall not

   remain effective unless the procedures otherwise required by this section are

   complied with forthwith,” thus the Safer at Home Restrictions violate the law on which

   they are based, and should be enjoined from further enforcement.

       e. THE SAFER AT HOME RESTRICTIONS VIOLATE THE SEPARATION
          OF POWERS DOCTRINE AS WELL AS THE NON-DELEGATION
          DOCTRINE, RENDERING THEM UNCONSTITUTIONAL

94. Furthermore, this abrogation of authority is the exact conduct that was forbidden and

   deemed unconstitutional by our Supreme Court in Protz and W. Phila. Achievement

   Charter Elementary Sch., as referenced herein.

95. The Defendants’ appropriation of power far surpasses any official act done on behalf of

   the local legislative, executive, or judicial branch through our city’s history. It has resulted




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   in a consolidation of all three (3) branches of government into a group of unelected officials

   in the Department of Health and Board of Health.

96. The separation of powers doctrine is essential to our tripartite governmental framework

   and is the cornerstone of judicial independence. It is inherent in the Pennsylvania

   Constitution and makes manifest that the three branches of government are co-equal and

   independent, and divides power accordingly. Commonwealth v. Hill, 2020 Pa. Super.

   LEXIS 774, *5.

97. The governing structure of our Commonwealth, like the federal government, is divided

   into three equal branches, the legislative, see Pa. Const. art II, § 1 ("The

   legislative power of this Commonwealth shall be vested in a General Assembly ...."); the

   executive, see Pa. Const. art. IV, § 2 ("The supreme executive power shall be vested in the

   Governor ...."); and the judicial, see Pa. Const. art. V, § 1 ("The judicial power of the

   Commonwealth        shall   be    vested      in   a   unified    judicial   system     ....").

   Id.

98. The rationale underlying this separation of powers is that it prevents one branch of

   government from exercising, infringing upon, or usurping the powers of the other two

   branches. Id.

99. To avert the danger inherent in the concentration of power in any single branch or body,

   no branch may exercise the functions delegated to another branch. Jefferson County

   Court Appointed Employees Association v. Pennsylvania Labor Relations Board, 603 Pa.

   482 (Pa.2009) (emphasis added).




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100.      The prohibition on one branch of government encroaching upon a sister

   branch's powers is, in turn, related to the system of checks and balances, which prevents

   one branch from acting unchecked. Id.

101.      For checks and balances to properly work, each branch must be kept from

   controlling or coercing the other. Insuring that each branch is co-equal and independent is

   the foundation of the separation of powers doctrine, and the avoidance of the

   concentration of governmental powers in one branch is essential to our freedom and

   liberty. See Commonwealth v. Hill, supra (emphasis added).

102.      In our Commonwealth, the roots of the separation of powers doctrine run deep. The

   delineation   of   the   three   branches   of   government,   each   with   distinct   and

   independent powers, has been inherent in the structure of Pennsylvania's government since

   its genesis — the constitutional convention of 1776. Id.

103.      In the present scenario, Defendants have inserted themselves into all three

   branches of government under the guise of a perpetual emergency.

                      1. THE BOARD OF HEALTH HAS ASSUMED THE
                         LEGISLATIVE FUNCTION

104.      Intoxicated with their unchecked authority to legislate in violation of the

   Pennsylvania Constitution and Philadelphia Home Rule Charter, the Defendants have even

   insinuated their intention to make their emergency regulations permanent, as if it was a

   law:




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   See Exhibit “B” at p. 4.

105.      In recognition of this unprecedented consolidation of power, a bill was recently

   proposed in City Council to reign in the Department of Public Health’s unconstitutional

   encroachment on the legislature, seeking to put a sixty (60) day time limit on their authority

   under Philadelphia Code § 6-205 and § 6-206. See City of Philadelphia Bill No. 200678,

   attached as Exhibit “C.”

106.      The introduction of the aforementioned bill, coupled with the historically built-in

   restrictions on granting “emergency” powers, City Council has acknowledged that the

   Board of Health is not only “legislating,” but also it is acting beyond Council’s legislative

   intent in the passing of §§ 6-205, 6-206 and 8-407.

107.      City Council’s proposed bill to put a time limit on the Defendants’ authority under

   Philadelphia Code § 6-205 and § 6-206 shows that the Defendants have clearly been acting

   contrary to City Council’s legislative intent.

108.      Indeed, the Safer at Home Restrictions, and the unfettered power being exercised

   by the Defendants under the guise of Philadelphia Code § 6-205 and § 6-206, goes far

   beyond that of other emergency regulations enacted by City Council throughout its history.

109.      For example, the COVID-19 Emergency Housing Protections law was introduced

   as a bill by City Council pursuant to their legislative authority. The bill passed, and was

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   codified into law, with an end date of August 31, 2020. See Philadelphia Code § 9-809.

   Unlike the Safer at Home Restrictions, the COVID-19 Emergency Housing Protections

   law came from City Council, the legislative body of the City, and set forth a specific

   timeframe in which it would be valid: July 1, 2020 to August 31, 2020.

110.      Even the Mayor’s emergency powers at times of civil unrest are not as broad as the

   unrestrained encroachment on the legislative branch by the Philadelphia Department of

   Health in the Safer at Home Restrictions. Pursuant to Philadelphia Code § 10-819, the

   Mayor may declare a state of emergency, and take specific enumerated actions if “the City

   or any part thereof is suffering or is in imminent danger of suffering civil disturbance,

   disorder, riot or other occurrence which will seriously and substantially endanger the

   health, safety and property of the citizens.” See Philadelphia Code § 10-819. This power

   may only last two (2) weeks. See Philadelphia Code § 10-819(2). As the Pennsylvania

   Superior Court has explained, Philadelphia Code §10-819, and the State of Emergency

   power granted to the Mayor of Philadelphia therein, only applies to riots.              See

   Commonwealth v. Stotland, 251 A.2d 701 (Pa. Super. 1968).

111.      In Stotland, the Superior Court reviewed three (3) summary criminal convictions

   following the enactment of a state of emergency from April 5, 1968 at 9:00 p.m. to April

   10, 1968 at 6:00 a.m. in response to “widespread public disorder” across the city and nation

   in the aftermath of the Martin Luther King, Jr. assassination. Id. at n. 2. The state of

   emergency was enacted by the Mayor of Philadelphia, pursuant to Philadelphia Code §10-

   819, and set forth limitations on groups of twelve (12) people or more from assembling in

   the city. Id. The Petitioners challenged the constitutionality of §10-819, but the Superior

   Court upheld all three (3) convictions, and, in the concurring opinion, set forth a detailed



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analysis of the purpose of §10-819, and the limitations on the Mayor of Philadelphia’s

emergency powers under the law. Philadelphia Code §10-819 authorizes the Mayor of

Philadelphia to declare a State of Emergency within the City, and to impose certain

extraordinary measures to maintain public order for the duration of the emergency period.

Id. at 702. Emergency powers may only be invoked if may be invoked only if the city "is

suffering, or is in imminent danger of suffering civil disturbance, disorder, riot or other

occurrence which will seriously and substantially endanger the health, safety and property

of the citizens…” Id. at 704. The words "imminent danger" mean a "clear and present

danger." Id. Thus, Philadelphia Code §10-819 may only be enacted during a riot. As the

Court explained:

       Both the ordinance and its history indicate that the only danger defined by the
       language "civil disturbance, disorder, riot or other occurrence" is a large scale urban
       riot. In 1964, a large scale riot occurring in Philadelphia resulted in scores of
       injuries and extensive property damage. During the summer of 1967, only one
       month prior to the enactment of Ordinance 10-819, the prospect of an impending
       riot of these proportions prompted the Mayor of Philadelphia to make an executive
       decree similar to the Proclamation of April 5 without legislative authorization. The
       ordinance was enacted to give the Mayor more effective power to restore order or
       prevent disorder in future outbreaks of this kind.

       The language of the ordinance supports the conclusion that the powers may be
       exercised only to control or avert a large scale riot. The eight specific measures
       which the Mayor is authorized to apply are uniquely designed to combat this
       catastrophic form of civil disorder. The powers to restrict surface and air
       transportation into and within the city are aimed at containing a riot within existing
       riot-struck areas. The prohibitions upon the sale of weapons and inflammable
       liquids are designed to restrict or prevent arson and violence by limiting the
       availability of articles which might be employed to these ends. Restrictions
       imposed on the sale of alcoholic beverages may prevent the further aggravation and
       release of inflamed passions and hostilities. The powers to limit public assembly
       and to impose a curfew provide readily enforceable crowd control devices during
       an existing riot and limit the opportunities for the public venting of emotions which,
       when there is a clear and present danger of riot, may turn the possibility of riot into
       reality.
       A large scale urban riot involving widespread arson, looting, vandalism and sniping
       is the most destructive form of civil disturbance. The magnitude of the rioting

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          which has occurred in major cities in recent years is measured in scores of deaths,
          hundreds of injuries, and millions of dollars of property damage. 5 In many
          instances, city and state executives have been required to employ State National
          Guard or United States Army troops to restore order to the community.

          Id. at 704-5.

112.      In fact, the Court declared that §10-819 only authorizes the Mayor of Philadelphia

   to declare a State of Emergency only after he has found there is a clear and present danger

   of a large scale civil disorder. Id. at 705. Such a State [of Emergency] may be declared

   only if the city is faced with the clear and present danger of a riot. Id. at 706.

113.      The Defendants’ ongoing usurpation is a consolidation of all three (3) branches of

   government, and violates the required separation of powers.

114.      To be sure, the Safer at Home Restrictions are an unprecedented and

   unconstitutional exercise of power by an administrative agency. The Defendants have

   encroached on the non-delegable legislative function of City Council, in violation of

   Pennsylvania law. See e.g. Tosto, Protz, supra.         They have ignored the procedural

   safeguards required by the Pennsylvania Constitution, and Philadelphia Home Rule

   Charter § 8-407, to protect citizens from the enactment and enforcement of arbitrary

   regulations. They have exercised unrestrained emergency authority in ways never before

   seen, even by City Council or the Mayor during times of emergency.

115.      The Safer at Home Restrictions also invade the executive and judicial functions of

   government.

                      2. THE BOARD OF HEALTH                        HAS      ASSUMED    THE
                         EXECUTIVE FUNCTION

116.      Under the Philadelphia Home Rule Charter § 4-100, the Mayor is the chief

   executive officer of the City, and shall be responsible for the conduct of executive work,



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   administrative work, and law enforcement within the City. See Philadelphia Home Rule

   Charter § 4-100.

117.       The Board of Health demonstrates its usurping of the executive role through its

   administration of its restrictions, including the Safer at Home Restrictions.

118.        The Board now sits in the executive role of law enforcement. Section 11 of the

   Safer at Home Restrictions, the Department of Health authorizes itself to allow continuous

   inspection of affected premises, such as catering halls, restaurants, bars and gyms:




   See Exhibit “A” at § 11(c).

                        3. THE BOARD OF HEALTH HAS ASSUMED THE JUDICIAL
                           FUNCTION


119.       Under the Pennsylvania Constitution, judicial power of the Commonwealth rests in

   the unified judicial system. See PA CONST. art. V, § 1.

120.       The Department of Health has assigned itself to hold hearings and determine not

   only guilt, but also the consequences levied against any business or individual it determines

   is recalcitrant to its directives.

121.       Specifically, the Safer at Home Restrictions allow Department of Health

   employees, or other city employees, acting pursuant to the Safer at Home Restrictions to

   impose penalties, fines, license suspensions, and, ominously, “other penalties.”




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   See Exhibit “A” at § 11(d).

       f. THE ARBITRARY SAFER AT HOME RESTRICTIONS HAVE LED TO
          IRRATIONAL RESULTS

122.       The Defendants’ ad hoc regulations, which are heavy on fear, and light on facts,

   have led to absurd results. We are living in a city where this is “legal:”




                             Christmas Village packed with guests



But this is illegal, and will result in numerous fines and a cease operations order:

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Where Walmart is allowed to operate like this:




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         Photo taken at the South Philadelphia Walmart on 12/17/20




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     But, this indoor dining is forbidden:




123.        Accordingly, the Defendants’ ongoing regulations and the most recent Safer at

     Home Restrictions violate the non-delegation and separation of power doctrines of

     Pennsylvania law, and are unconstitutional pursuant to Article 2, Section 1 of the

     Pennsylvania Constitution. Moreover, they violate the procedural requirements to enact

     emergency regulations pursuant to the Philadelphia Home Rule Charter and cannot be

     enforced.

V.      THE SAFER AT HOME RESTRICTIONS ARE AN UNCONSTITUTIONAL
        VIOLATION OF THE SUBSTANTIVE DUE PROCESS RIGHT TO WORK

        a. THE RIGHT TO WORK IS PROTECTED BY THE UNITED STATES
           CONSTITUTION AND PENNSYLVANIA CONSTITUTION

124.        Substantive due process guarantees that “all fundamental rights comprised within

     the term liberty are protected by the Federal Constitution from invasion by the States.”

     Planned Parenthood of Southeastern Pennsylvania v. Casey, 505 U.S. 833, 847
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   (1992)(quoting Whitney v. California, 274 U.S. 357, 373 (1927)). This includes the right

   to work.

125.      In fact, the United States Supreme Court has stated:

          Yet, while the Court has eschewed rigid or formalistic limitations on the protection
          of procedural due process, it has at the same time observed certain boundaries. For
          the words "liberty" and "property" in the Due Process Clause of the Fourteenth
          Amendment must be given some meaning.

          While this Court has not attempted to define with exactness the liberty . . .
          guaranteed [by the Fourteenth Amendment], the term has received much
          consideration and some of the included things have been definitely stated. Without
          doubt, it denotes not merely freedom from bodily restraint but also the right of the
          individual to contract, to engage in any of the common occupations of life, to
          acquire useful knowledge, to marry, establish a home and bring up children, to
          worship God according to the dictates of his own conscience, and generally to enjoy
          those privileges long recognized . . . as essential to the orderly pursuit of happiness
          by free men." Meyer v. Nebraska, 262 U.S. 390, 399. In a Constitution for a free
          people, there can be no doubt that the meaning of "liberty" must be broad indeed.
          See, e. g., Bolling v. Sharpe, 347 U.S. 497, 499-500; Stanley v. Illinois, 405 U.S.
          645.

   Board of Regents v. Roth, 408 U.S. 564, 572 (1972) (emphasis added)

126.      The Pennsylvania Constitution likewise guarantees the inherent and indefeasible

   rights of its citizens: “all men are born equally free and independent, and have certain

   inherent and indefeasible rights, among which are those of enjoying and defending life and

   liberty, of acquiring, possessing and protecting property and reputation, and of pursuing

   their own happiness.” See PA CONST. art. I, § 1.

127.      Our Constitution likewise explicitly prohibits the passage of laws that abridge our

   civil rights: “[n]either the Commonwealth nor any political subdivision thereof shall deny

   to any person the enjoyment of any civil right, nor discriminate against any person in the

   exercise of any civil right.” See PA CONST. art. I, § 26.




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128.      As the Pennsylvania Supreme Court has held: “within the concept of liberty

   protected by the Fourteenth Amendment [is] the right to engage in any of the common

   occupations of life. The established doctrine… is that this liberty may not be interfered

   with, under the guise of protecting the public interest, by legislative action which is

   arbitrary or without reasonable relation to some purpose within the competency of the state

   to effect." Adler v. Montefiore Hospital Asso., 453 Pa. 60, 72 (1972) (citing Meyer v.

   Nebraska 262 U.S. at 399, 400 (1923)).

129.      In Adler, the Pennsylvania Supreme Court reviewed whether a private physician

   associated with a public teaching hospital was entitled to render what he considered

   comprehensive medical treatment to his patients using hospital facilities and equipment, or

   whether his right to provide treatment must yield to rules and regulations established by

   the hospital. The hospital downgraded the physician’s employment from full-time to part-

   time, which eliminated his ability to perform operations using the hospital’s facilities. Id.

   at 65-66.

130.      Although the Court upheld the hospital rules, it confirmed the significant

   limitations on the government’s interference into protected freedoms, like the right to work.

   "[A] governmental purpose to control or prevent activities constitutionally subject to state

   regulation may not be achieved by means which sweep unnecessarily broadly and thereby

   invade the area of protected freedoms." Id. (citing NAACP v. Alabama, 377 U.S. 288

   (1964)).

131.      Critically, a law “which purports to be an exercise of the police power must not be

   unreasonable, unduly oppressive or patently beyond the necessities of the case, and the

   means which it employs must have a real and substantial relation to the objects sought to



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   be attained. Under the guise of protecting the public interests the legislature may not

   arbitrarily interfere with private business or impose unusual and unnecessary restrictions

   upon lawful occupations." Id. (citing Gambone v. Commonwealth, 375 Pa. 547, 551

   (1954)).

       b. THE SAFER AT HOME RESTRICTIONS ARE AN UNCONSTITUTIONAL
          LIMIT ON THE RIGHT TO WORK

132.      In the instant case, the Safer at Home Restrictions violate the protections enshrined

   in Adler. The regulations set forth by Defendants are overbroad, in that they shutdown all

   indoor dining, catering, and gyms, thereby depriving Plaintiff and others of the right to

   work, without any study of the safety protocols able to be followed by individual

   businesses. Furthermore, the Defendants have yet to publicly release any of their data

   showing how their regulations have a real and substantial relation to the goal of stopping

   the spread of COVID-19. The regulations also arbitrarily differentiate between businesses

   which are permitted to remain open, and those which must close.

133.      For example, the Christmas Village and national big-box retailers are allowed to

   remain open, despite the massive crowds of people they attract during the holidays, while

   mom-and-pop restaurants, catering halls and gyms are forced to close, regardless of how

   busy they become. Such ad hoc and irrational regulations violate the mandate of Adler,

   which forbids imposing unusual and unnecessary restrictions upon lawful occupations

   under the guise if public interest. Id. at 65-66.

134.      Government encroachment into the right to work via regulations and emergency

   orders in the context of the COVID-19 pandemic was recently addressed in Cty. of Butler

   v. Wolf, 2020 U.S. Dist. LEXIS 167544 (W.D. Pa. Sept. 14, 2020). The Court affirmed that

   substantive due process includes the right of citizens to support themselves by engaging in

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   their chosen occupation, and invalidated Governor Wolf’s business closures. Id. at 5. The

   Court found “[t]here is no question… that the Fourteenth Amendment recognizes a liberty

   interest in citizens… to pursue their chosen occupation.” Id. at 79.

135.      In Cty. of Butler, the Court reviewed the constitutionality of public health measures

   enacted by Governor Wolf and the Commonwealth of Pennsylvania to stop the spread of

   COVID-19, including orders closing “non-life sustaining” businesses, and stay-at-home

   requirements. The challenge of this endeavor – the balance of constitutional freedoms

   versus a public health crisis – was not lost on the Court. Nonetheless, the Court found that

   the government cannot restrict the due process freedoms guaranteed by the Constitution:


          The unprecedented nature of the business closure—even in light of historic
          emergency situations—makes its examination difficult from a constitutional
          perspective. It simply does not neatly fit with any precedent ever addressed by our
          courts. Never before has the government exercised such vast and immediate power
          over every business, business owner, and employee in the Commonwealth. Never
          before has the government taken a direct action which shuttered so many businesses
          and sidelined so many employees and rendered their ability to operate, and to work,
          solely dependent on government discretion. As with the analysis of lockdowns, the
          unprecedented nature of the business shutdowns poses a challenge to its review.
          Nevertheless, having reviewed this novel issue in light of established Due
          Process principles, the Court holds that the business closure orders violated
          the Fourteenth Amendment.

          Id. at 74-75 (emphasis added).

136.      The Court found that the restrictions set forth by Governor Wolf were

   unconstitutional because they had the potential, and actual effect, of destroying businesses

   and putting employees out of work. Id. at 89. Although the defendants were acting hastily

   to prevent a public health situation, they exercised “raw governmental authority in a way

   that could (and did) critically wound or destroy the livelihoods of so many.” Id. at 90. The

   citizens of the Commonwealth deserved an objective plan, the ability to determine with



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   certainty how the critical classifications were to be made, and a mechanism to challenge

   an alleged misclassification, but the arbitrary design, implementation, and administration

   of the business shutdowns deprived the plaintiffs of all protection. Id.

137.       As in Cty. Of Butler, the Defendants’ ongoing restrictions, including their Safer at

   Home Restrictions, are likewise an arbitrary deprivation of Plaintiff’s constitutional right

   to work. Under the Constitution’s substantive due process protections, Plaintiff has the

   right to pursue his chosen occupation. The Safer at Home Restrictions, however, have

   forced Plaintiff to lose their jobs, livelihoods and, if prosecuted for violating the

   restrictions, potentially fines, jail time reputation, Despite this significant encroachment,

   the Defendants have failed to provide to the public with any of their rationale or data to

   support the Safer at Home Restrictions, and demonstrate their necessity.

138.       A non-exhaustive list of the Defendants’ “findings” and “rationale” that they have

   failed to explain or support with data, studies, and/or scientific methodology includes, but

   is not limited to:

       a. The differentiation between “essential” business and “non-essential” business;

       b. That COVID-19 may remain viable for hours or days on surfaces;

       c. That group settings are at a heightened risk for transmission of COVID-19 when

           individuals leave and return;

       d. That construction creates a heightened risk for transmission of COVID-19 and

           should therefore be limited;

       e. That reopening in phases reduces the risk for transmission of COVID-19;

       f. That indoor exercise creates a heightened risk for transmission of COVID-19;

       g. That indoor dining creates a heightened risk for transmission of COVID-19;



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       h. That indoor catering creates a heightened risk for transmission of COVID-19;

       i. That indoor theaters create a heightened risk for transmission of COVID-19;

       j. That outdoor sports create a heightened risk for transmission of COVID-19;

       k. The differentiation between small-business retail stores and national retailers;

       l. That gatherings with persons from different households creates a heightened risk

          for transmission of COVID-19;

       m. That indoor facilities such as museums, concert halls, arcades, bowling alleys,

          private clubs, and event centers create a heightened risk for transmission of

          COVID-19;

139.      By failing to report the underlying data or studies surrounding the above-referenced

   “findings” and “rationale” behind their regulations, the Defendants violated Philadelphia

   Home Rule Charter § 8-407 because they passed arbitrary and inconsistent regulations, and

   the due process protections of the Fourteenth Amendment.

140.      To date, the Defendants have not shown any analysis of whether their purported

   “findings” and “rationale” will hurt, rather than help, the city.

141.      At the enactment of the Safer at Home Restrictions, nearby counties remained

   operational and unrestricted, permitting indoor dining, to the detriment of similarly-

   situated Philadelphia businesses, like Plaintiff’s.

142.      In fact, the Center for Disease Control (hereinafter “CDC”), which the Defendants

   have referenced since March 2020 as an authoritative agency with regard to information

   and guidance on stopping the spread of COVID-19, does not recommend lockdowns and a

   total ban of indoor dining. The CDC has published mitigation guidelines for the restaurant

   industry. See supra.



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143.      Nowhere in the guidelines does the CDC recommend that the restaurant industry

   should or must be “locked down” to mitigate COVID-19 spread. See Centers for Disease

   Control Guidelines, attached as Exhibit “D.”

144.      Moreover, at the last published Department of Public Health meeting minutes of

   September 10, 2020, Dr. Farley noted that indoor gyms were compliant with distancing,

   masking and capacity restrictions, and that the Department of Health was just starting to

   monitor their compliance with health restrictions. See Department of Public Health

   Meeting Minutes from September 10, 2020, attached as Exhibit “E.”

145.      To date, Defendants have not made the Department of Health’s inspection data on

   indoor gyms publicly available, or any other data.

146.      Further, at the September 10, 2020 Department of Public Health meeting, Dr.

   Farley indicated that even though Philadelphia’s restrictions on indoor dining were stricter

   than the rest of the Commonwealth, other counties have not seen an increase of coronavirus

   cases due to indoor dining. See Exhibit “E” at p. 2.

147.      Furthermore, the fact that the CDC has not issued any guidelines that suggest a

   lockdown of restaurants, catering halls, and gyms would be necessary, couple with the lack

   of Defendants’ own data, renders any argument that the public interest is supported by a

   lockdown to be unsubstantiated.

148.      Before exercising “raw governmental authority that could critically wound or

   destroy the livelihoods of so many,” Plaintiff and others deserved to see objective

   regulations supported by scientific fact, an ability to analyze the data to see how and why

   specific regulations were made, and a mechanism to challenge the regulation. See Cty. of

   Butler, at 90 (W.D. Pa. Sept. 14, 2020).



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149.          Instead, Defendant, the Philadelphia Department of Public Health, through its

      Board of Health, all unelected officials who do not have legislative powers, enacted the

      Safer at Home Restrictions pursuant to their unfettered and unchecked discretion. Their

      reasoning has not been explained, nor has any appeal mechanism been provided. They did

      not follow the procedural requirements of the Philadelphia Home Rule Charter. Simply

      put, the Defendants have created a system where they can deprive citizens of their property

      rights, intrude on their business, and destroy their livelihood, without any potential recourse

      for those affected by the government’s actions.

VI.      AN EMERGENCY INJUNCTION IS NECESSARY TO STOP THE
         DEFENDANTS FROM VIOLATING THE CONSTITUTION BY USURPING
         THE LEGISLATIVE FUNCTION AND DEPRIVING PLAINTIFF OF THE
         RIGHT TO WORK

150.          Preliminary injunctive relief is an equitable remedy available in equity

      actions. Barcia v. Fenlon, 37 A.3d 1, 6 (Pa. Cmwlth. 2012). "A preliminary injunction is

      designed to preserve the subject of the controversy in the condition in which it is when the

      order is made, it is not to subvert, but to maintain the existing status quo until the legality

      of the challenged conduct can be determined on the merits." Greater Nanticoke Area

      Education Association v. Greater Nanticoke Area School District, 938 A.2d 1177, 1183

      (Pa. Cmwlth. 2007).

151.          To issue a preliminary injunction pursuant to Pa. R.C.P. § 1531(a), Plaintiff must

      show:

         a. An injunction is necessary to prevent immediate and irreparable harm that cannot

              be adequately compensated by damages;

         b. Greater injury will result from refusing an injunction than from granting it, and an

              injunction will not substantially harm other interested parties in the proceedings;

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          c. A preliminary injunction will properly restore the parties to their status as it existed

              immediately before the alleged wrongful conduct;

          d. The moving party is likely to prevail on the merits;

          e. The injunction is reasonably suited to abate the offending activity; and

          f. A preliminary injunction will not adversely affect the public interest.

See e.g. Summit Towne Centre, Inc. v. Show of Rocky Mount, Inc., 573 Pa. 637, 646-47 (2003).

          a. PLAINTIFF WILL SUFFER IMMEDIATE AND IRREPARABLE HARM

   152.       A party seeking a preliminary injunction must show the injunction is necessary to

       prevent immediate and irreparable harm that cannot be adequately compensated by

       damages. Com. Ex rel. Corbett v. Snyder, 977 A.2d 28, 41 (Pa. Commw. Ct. 2009).

   153.       This Honorable Court granted a preliminary injunction in SPTR, Inc. v. City of

       Phila, 2015 Phila. Ct. Com. Pl. LEXIS 280 at 17. In that case, Plaintiff was operating a

       beer garden in a yard on their property, until the City issued a cease and desist order because

       the yard was not properly zoned. Id. at 2-4. Profits from the beer garden were going to be

       donated to charity. Id. at 2.

   154.       In finding that an injunction was warranted to prohibit the City from shutting down

       the beer garden, this Court found that Plaintiff suffered immediate and irreparable harm –

       namely, that “several charitable organizations relied upon the beer garden for funding,

       including funding a trip for a youth dance troupe to travel to New Orleans to teach local

       children, which would not be possible without said funding.” Id. at 18.

   155.       The Court indicated the license to operate a business, such as Plaintiff’s, is a

       property right, which cannot be adequately compensated by damages. Id. at 20.




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156.      Here, Plaintiff will suffer similar immediate and irreparable harm from the Safer at

   Home Restrictions, which provide the Board of Health with unchecked power to enforce

   mercurial regulations and continuous close Plaintiff’s businesses, as well as, ban indoor

   dining. Plaintiff’s businesses will be lost, their employees without jobs and plaintiff unable

   to provide themselves or their families with a way of life they have worked so hard to build

   and have struggled to maintain since Defendants began issuing shut down and restrictive

   operation Orders in March 2020. The effect of the Safer at Home Restrictions will not only

   be felt by Plaintiff but will have reverberating effects throughout the community.

157.      Furthermore, the ongoing imposition of fines, costs and business closures at the

   hands of the Defendants as they have assumed all three (3) branches of government is an

   immediate and irreparable harm. Plaintiff has no recourse but to bow to the Defendants’

   authority, and serve any imposed penalties, unless Defendants’ power grab is placed in

   check and their Safer at Home Restrictions are enjoined. Each unconstitutional and invalid

   encroachment on the Plaintiff’s property by the Defendants inflicts new harm on Plaintiff,

   and those similarly situated.

       b. PLAINTIFF WILL SUFFER A GREATER INJURY THAN DEFENDANTS

158.      "The accumulation of all powers, legislative, executive, and judiciary, in the same

   hands… may justly be pronounced the very definition of tyranny." See The Federalist No.

   47 (J. Cooke ed. 1961).

159.      The Defendants have violated the Pennsylvania Constitution’s prohibition on

   delegated authority, as well as the separation of powers, the Fourteenth Amendment’s due

   process guarantee of the right to work, and the Philadelphia Home Rule Charter’s

   procedural protections against arbitrary regulations.



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160.      They have yet to provide the underlying data and rationale for their ban on indoor

   dining, gyms and catering, while leaving other indoor facilities open to the public, and

   permitting other mass gatherings in close environments, such as the Christmas Village. At

   the time the Safer at Home Restrictions were enacted, nearby counties remained

   operational and unrestricted, permitting indoor and other banned activities to continue. In

   light of such inconsistent, unexplained, unjustified, and nonsensical reasons for restricting

   businesses, such as Plaintiff’s, the Defendants have failed to demonstrate any harm if their

   power was placed in check and their Safer at Home Restrictions enjoined.

       c. A PRELIMINARY INJUNCTION WILL PRESERVE THE STATUS QUO

161.      An injunction is proper to restore the parties to their status quo as it existed

   "immediately prior to the alleged wrongful conduct." Summit Towne Ctr., Inc., 828 A.2d

   at 1001.

162.      This Court has found that the status quo was preserved when a business (the beer

   garden) was operating prior to a cease order, and an injunction would return it to operation.

   SPTR, Inc., 2015 Phila. Ct. Com. Pl. LEXIS 280 at 23.

163.      Here, enjoining the Safer at Home Restrictions would prevent the city from shutting

   down Plaintiff’s business with aggressive and unnecessary enforcement tactics, thus

   returning it to its unencumbered status before the Defendant’s regulations.




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       d. PLAINTIFF’S RIGHT TO RELIEF IS CLEAR

164.       Pursuant to the Pennsylvania Rules of Civil Procedure and case law, the party

   seeking an injunction must show that their right to relief is clear. Anglo-Am. Ins. Co. v.

   Molin, 547 Pa. 504, 691 A.2d 929, A.2d 929, 933-34 (1997).

165.       Plaintiff, as well as all Philadelphians, have an absolute right to their

   Constitutionally guaranteed rights and liberties and to be free from being subjected to

   oppressive, arbitrary, overly broad and unsubstantiated restrictions that are derived from

   an administrative agency’s abuse of authority and power that has been specifically

   prohibited by our Supreme Court’s rulings.

166.       Plaintiff has a right to relief when the City is required to issue permits for the

   operation of a business, but failed to follow the Philadelphia Code. SPTR, Inc., 2015 Phila.

   Ct. Com. Pl. LEXIS 280 at 23.

167.       In the instant case, Plaintiff cannot operate their business if the Defendants impose

   regulations prohibiting its operation, and Defendants have not followed the required

   procedures, as set forth in the Philadelphia Home Rule Charter. Moreover, Plaintiff’s

   constitutional rights are being actively violated by the Defendants, in their encroachment

   into the legislative, executive and judicial branches of government, and impeding on

   Plaintiff’s right to earn a living.


       e. AN INJUNCTION IS REASONABLY SUITED TO ABATE THE
          OFFENDING ACTIVITY

168.       A preliminary injunction must also be reasonably suited to abate the offending

   activity. Com. ex rel. Corbett v. Snyder, 977 A.2d 28, 48 (Pa. Commw. Ct. 2009).




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169.      Here, an injunction would stop the Defendants from their unprecedented and

   unconstitutional overextension of power and enforcing the Safer at Home Restrictions,

   which are unconstitutional. Thus, the offending activity would be prohibited, and abated,

   by the injunction.

       f. AN INJUNCTION IS IN THE PUBLIC INTEREST

170.      A party seeking an injunction must show that a preliminary injunction will not

   adversely affect the public interest. Philadelphia v. District Council 33, AFSCME, 528 Pa.

   355, 598 A.2d 256, 260-61 (1991).

171.      Moreover, there is public interest in maintaining the guaranteed rights of the United

   States’ Constitution and Pennsylvania Constitution, including the right to work, and the

   right to be free from usurpation of power by administrative agencies.

172.      The public has an interest in not having their rights and way-of-life trampled by the

   arbitrary, unexplained, and unjustified conduct of the Defendants.

173.      There is a public interest in avoiding Plaintiff’s economic destruction, and the

   reverberating cataclysmic impact on the livelihoods of thousands of residents of

   Philadelphia through the shutdown of small businesses, like Plaintiff’s.

174.      The vibrancy of neighborhoods, maintained by a strong foundation of small

   businesses, would remain intact. Tens of thousands of Philadelphians who depend on the

   restaurant industry for work and income, and to support their families and feed their kids,

   will not be displaced.

175.      The city, already dealing with a crime epidemic, will not be confronted with the

   sudden influx of thousands of newly unemployed citizens and a dearth of job opportunities,

   while the Defendants close the last of the remaining businesses.



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176.       Granting an injunction preserves the status quo. Denying an injunction will alter

   the nature of the City of Philadelphia for years into the future.

VII.   PRAYER FOR DECLARTORY JUDGMENT AS ANCILLARY RELIEF:

177.       In any civil action, a party may include in the claim for relief a prayer for

   declaratory relief and the practice and procedure shall follow, as nearly as may be, the rules

   governing that action. See Pa.R.C.P. § 1602.

178.       The Declaratory Judgments Act, which is to be liberally construed and

   administered, was promulgated to settle and to afford relief from uncertainty and

   insecurity with respect to rights, status, and other legal relations. Pa.Democratic Party

   v. Boockvar, 238 A.2d 345 (2020) (emphasis added); see also 42. Pa.C.S. §7541(a).

179.       The Act provides in pertinent part as follows:

   “Any person… whose rights, status, or other legal relations are affected by a statute,

   municipal ordinance...may have determined any question of construction or validity arising

   under the... statute, ordinance… obtain a declaration of rights, status, or other legal

   relations thereunder. Pa. Democratic Party, supra, quoting 42 Pa.C.S. §7533.

180.       As has been set forth at length herein, it is clear that Plaintiff’s Constitutional rights

   are directly affected by the Defendants’ ongoing restrictions.

181.       Liberally construing and applying the right to declaratory relief as is prescribed by

   the Act and our Supreme Court, it is clear that Plaintiff is entitled to declaratory relief from

   the uncertainty and insecurity that surrounds their Constitutional rights as set forth herein.

   See Pa. Democratic Party, supra.

182.       Therefore, Plaintiff prays that this Court grant Declaratory Relief and Order that

   Defendants’ Emergency Regulations are void and unenforceable for the following reasons:



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          •   Defendants’ Emergency Regulations, including the Safer at Home Restrictions are

              are violative of Plaintiff’s Constitutional and Civil Rights;

          •   Defendants’ Emergency Regulations, including the Safer at Home Restrictions

              violate the Non-Delegation and Separation of Powers of the Pennsylvania

              Constitution;

          •   Defendants’ Emergency Regulations, including the Safer at Home Restrictions

              violate the requirements of the Philadelphia Home Rule Charter, as well as, City

              Council’s intent.

   WHEREFORE, for the foregoing reasons, Plaintiff respectfully requests this Honorable

Court enter an Order in the form attached hereto, granting Plaintiff’s Motion for Special and

Preliminary Injunctive Relief and Plaintiff’s Prayer for Declaratory Judgment as Ancillary

Relief.

                                             Respectfully Submitted,

                                             FRITZ & BIANCULLI, LLC


                                             By:    /s/ Brian E. Fritz
                                             BRIAN E. FRITZ, ESQUIRE (84044)
                                             WILLIAM A. WEISS, ESQUIRE (309817)
                                             Attorneys for Plaintiff, Philadelphia Restaurant
                                             Owners Against Lockdown, LLC




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                                 CERTIFICATE OF SERVICE

       I, Brian E. Fritz, Esquire, attorney for Plaintiff, hereby certify that a true and correct copy

of Plaintiff’s Complaint in Equity, Motion for Special and Preliminary Injunction, and

Memorandum of Law, were served on the following defendants:


                            JAMES KENNEY, in his official capacity
                              as Mayor of the City of Philadelphia
                                     City Hall, Rm. 204
                                   Philadelphia, PA 19107

                              THOMAS A. FARLEY, in his official
                                capacity as Health Commissioner
                                 1101 Market Street, 13th Floor
                                    Philadelphia, PA 19107

                                   CITY OF PHILADELPHIA
                                    1515 Arch Street, Suite 15
                                     Philadelphia, PA 19102

                   PHILADELPHIA DEPARTMENT OF PUBLIC HEALTH
                             1101 Market Street, 13th Floor
                                Philadelphia, PA 19107




                                              By:    /s/ Brian E. Fritz
                                              BRIAN E. FRITZ, ESQUIRE (84044)
                                              Attorneys for Plaintiff, Philadelphia Restaurant
                                              Owners Against Lockdown, LLC

DATE: December 18, 2020




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                                                               BOARD OF HEALTH: November 24, 2020
              CITY OF PHILADELPHIA                             LAW DEPARTMENT: November 24, 2020
              DEPARTMENT OF PUBLIC HEALTH                      RECORDS DEPARTMENT:



  EIGHTEENTH SUPPLEMENTAL EMERGENCY REGULATION GOVERNING
            THE CONTROL AND PREVENTION OF COVID-19
           (SAFER AT HOME FALL-WINTER RESTRICTIONS)


        WHEREAS, the Pennsylvania Disease Control and Prevention Act of 1955, 1956,
April 23, P.L. 1510, 35 P.S. § 52.1 et seq., (the DCPA) and Chapter 6-200 of The
Philadelphia Code authorize the Board of Health to establish lists of reportable diseases and
conditions, and further provide that the Board and the Department of Public Health are
responsible for implementing appropriate disease control and prevention measures in order to
limit the spread of disease in an epidemic emergency; and

       WHEREAS, the 2019 novel coronavirus disease, COVID-19, can cause severe
disease and death, particularly in older adult and other vulnerable populations; and

      WHEREAS, on March 6, 2020, in response to the emerging spread of COVID-19,
the Governor of Pennsylvania issued a Proclamation of Disaster Emergency; and

     WHEREAS, on March 11, 2020, the World Health Organization declared the
COVID-19 outbreak a pandemic, or global epidemic; and

     WHEREAS, on March 12, 2020, the Board of Health by emergency regulation added
COVID-19 to the City’s list of reportable and quarantinable diseases; and

       WHEREAS, on March 17, 2020, the Mayor and the Health Commissioner jointly
issued an Emergency Order prohibiting operation of non-essential businesses to prevent the
spread of COVID-19; and

       WHEREAS, on March 19, 2020, the Governor and the Secretary of the Pennsylvania
Department of Health issued orders requiring all non-life-sustaining businesses to close
across the Commonwealth, to help stop the spread of COVID-19 and the Governor and
Secretary updated the aforementioned orders and list of life-sustaining and non-life
sustaining businesses on March 20, 2020 and multiple times thereafter; and

       WHEREAS, on March 22, 2020, the Mayor and the Health Commissioner jointly
issued an Emergency Order Temporarily Prohibiting Operation of Non-Essential Businesses
and Congregation of Persons to Prevent the Spread of COVID-19, which superseded the
Emergency Order issued by the Mayor and Health Commissioner dated March 17, 2020, and
which was approved as a regulation of the City by the Board of Health on March 26, 2020,
which expressly authorized the Health Commissioner to issue such additional orders as the
Commissioner determines are necessary or appropriate to limit the spread of COVID-19; and
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       WHEREAS, on April 15, 2020, the Secretary of Health of the Commonwealth of
Pennsylvania issued an Order “Directing Public Health Safety Measures for Businesses
Permitted to Maintain In-person Operations,” which requires comprehensive safety measures
to be employed in all businesses maintaining physical operations, including standards for
cleaning and disinfecting high-touch areas, establishing protocols for businesses exposed to
probable or confirmed cases of COVID-19, limiting the numbers of employees on the
premises and ensuring access to protective and sanitary equipment and supplies; and

        WHEREAS, on April 23, 2020, the Governor announced a Plan for Pennsylvania
that set residents and businesses on a path to recovery from the COVID-19 pandemic while
continuing to protect life from the dangers of this deadly virus, which included, inter alia,
Red, Yellow, and Green Phases of reopening; and

        WHEREAS, the Mayor and Health Commissioner determined on May 29, 2020, that
Philadelphia could move to the Yellow Phase with additional, Philadelphia-specific
restrictions that would apply in addition to restrictions established by the Governor,
including limitations on outdoor dining, and executed an Order entitled “Emergency Order
Allowing Limited Reopening of Businesses, Advising Philadelphians That They are Safer at
Home, and Establishing Safety Measures to Prevent the Spread of 2019 Novel Coronavirus
(COVID-19): Yellow Phase of Reopening” (“Yellow Phase Order”) to implement that
decision; and

       WHEREAS, on or around May 28, 2020, the City’s Department of Public Health
released Safe Mode: Guidelines for Safer Operations During the COVID-19 Pandemic,
which has been periodically updated and which provides specific reopening guidance for
specific types of facilities; and

        WHEREAS, since that time, the Mayor and Health Commissioner, in recognition
that cautious reopening with constant review of potential impacts on public health is in the
best interests of Philadelphia, have issued a series of Orders gradually easing restrictions
with respect to many different types of business and activities; and

       WHEREAS, on June 26, 2020, the Mayor and Health Commissioner issued an order
requiring the wearing of masks in many indoor and outdoor situations, and on July 1, 2020,
the Governor issued a similar order; and

        WHEREAS, although the Governor announced that Philadelphia was authorized to
join other southeastern Pennsylvania counties in moving to the Green Phase of reopening on
June 26, 2020, the Mayor and Health Commissioner, in consideration of public health data
and the noted effects on public health in June and July in states that have hastily reopened,
the City had taken a cautious approach to moving to the Green Phase; and

        WHEREAS, on July 3, 2020, the Mayor and Health Commissioner issued an Order
that moved the City from the Yellow Phase to a Modified Green Phase and that, among other
things, generally increased the permitted capacity for outdoor gatherings and small events,
the rules for which were subsequently modified by further Orders on September 15, 2020
and October 23, 2020 to allow greater capacity at such events; and



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       WHEREAS, at this time the country is experiencing a sharp increase in COVID-19
case counts, repeatedly breaking daily records in November, and is currently averaging more
than 1,000 daily COVID-19 deaths (using a 7-day average); and

        WHEREAS, after a steady decline and plateauing of daily COVID-19 case counts in
Philadelphia beginning in May of this year, daily case counts have increased dramatically to
levels exceeding the peak experienced in April; and

       WHEREAS, the Department of Public Health has identified a recent, significant
uptick in percent positivity among those tested for COVID-19; and

       WHEREAS, these alarming national and local trends require tailored but significant
intervention to limit the community spread of COVID-19 and its attendant morbidity and
mortality; and

       WHEREAS, there is substantial evidence that widespread mask use can prevent the
spread of COVID-19, and observational data has suggested that people who wear masks and
become infected may be less likely to develop severe disease; and

        WHEREAS, the Department of Public Health and other public health experts have
identified that, although COVID-19 continues to be spread through a variety of settings and
activities, social gatherings, including small social gatherings, are a significant and
deceptively dangerous driver of the COVID-19 pandemic; and

        WHEREAS, the Department of Public Health has also identified indoor dining as a
significant driver of the COVID-19 pandemic, in part because it is not possible to wear a
mask while eating or drinking; and

        WHEREAS, indoor gatherings and other activities, including indoor physical activity
at gyms or other facilities, create significant opportunities for the transmission of COVID-19,
particularly when compared to outdoor gatherings and other activities and particularly when
participants are less transient; and

        WHEREAS, the spread of COVID-19 through outdoor gatherings and activities is
less likely than through indoor gatherings and activities, but still represents a significant risk,
particularly in the absence of strict mask usage, which is not possible when eating or
drinking; and

       WHEREAS, pursuant to authority set forth in The Philadelphia Code and The
Philadelphia Home Rule Charter, the Mayor has broad authority to set forth limitations on
public activities during a state of national health emergency; and

       WHEREAS, Sections 6-205 and 6-206 of The Philadelphia Code and applicable state
law provide that the Department of Public Health may by order forbid the congregation of
persons when necessary to prevent the further spread of a communicable and quarantinable
disease and may take such other measures as are necessary to prevent the spread of such
disease; and



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        WHEREAS, on November 16, 2020, the Mayor and the Health Commissioner issued an
“Emergency Order Concerning Additional Limitations on Visiting, Gatherings, Events and
Businesses for Fall/Winter 2020-21, Establishing Additional Safety Measures to Prevent the
Spread of the 2019 Novel Coronavirus (COVID-19) and Continuing to Advise That Philadelphians
Are Safer at Home,” (“November 16, 2020 Safer at Home Order”) which, inter alia, restricted
certain activities, including indoor and outdoor gatherings and educational, business, and other
activities, and modified the preexisting masking requirement, subject to certain exceptions and
other terms; and

        WHEREAS, the Board of Health agrees with these determinations, and has recognized that
the situation involving the COVID-19 pandemic is fast moving and often requires changes to
control measures both to impose additional measures and to roll back required measures when
appropriate; and

        WHEREAS, consistent with the foregoing, the Board hereby promulgates the below
Eighteenth Supplemental Emergency Regulation Governing the Control and Prevention of
COVID-19 (Safer at Home Fall-Winter Restrictions) to adopt the Mayor and Health
Commissioner’s November 16, 2020 Safer at Home Order, as a temporary regulation
effective upon delivery to the Department of Records, while the remaining procedures and
formalities of Section 8-407 are followed to promulgate these amendments as a permanent
regulation; and

        NOW, THEREFORE, the Board of Health hereby adopts the following regulation,
effective immediately:

       1.    This Emergency Regulation supplements the Philadelphia Department of Public
Health’s Regulations Governing the Control of Communicable and Non-communicable Diseases
and Conditions and its other emergency regulations governing the control and prevention of
COVID-19.

       2.     The Board hereby fully adopts the Mayor and Health Commissioner’s November
16, 2020 Safer at Home Order, which is attached hereto as Attachment A.

      3.      The Board’s emergency regulations governing the control and prevention of
COVID-19 are hereby modified to the extent they adopt emergency orders that are themselves
modified by the November 16, 2020 Order, in accordance with Section 1 of the November 16,
2020 Order.

       4.    This Emergency Regulation shall be effective upon filing with the Department of
Records and remain effective until expressly superseded or repealed by the Board at the conclusion
of the COVID-19 emergency.




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                           Attachment A
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      E.    This Order shall be effective at S p.m. on November 20, 2020, and shall
            expire at the end of January 1, 2021, unless otherwise rescinded,
            superseded, or amended by further Order.




Date: November 16, 2020
                                               Ja6°@F. Kenney, Ma
                                               City of Philadelphia




                                               Health Commissioner
                                               City of Philadelphia




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                                                                            City Council
                                  City of Philadelphia                      Chief Clerk's Office
                                                                            402 City Hall
                                                                            Philadelphia, PA 19107




                                        BILL NO. 200678


                                 Introduced December 3, 2020


                                     Councilmember Oh


                                       Referred to the
                        Committee on Public Health and Human Services


                                        AN ORDINANCE

Amending Chapter 6-200 of The Philadelphia Code, entitled “Preventive Medicine,” by
imposing duration limitations on emergency control measures, requiring Council approval of
emergency control measures in certain circumstances, and to make technical changes, all under
certain terms and conditions.

THE COUNCIL OF THE CITY OF PHILADELPHIA HEREBY ORDAINS:

SECTION 1. Chapter 6-200 of The Philadelphia Code is amended to read as follows:

                            CHAPTER 6-200. PREVENTIVE MEDICINE.

                                    *          *           *

§ 6-205. Emergency Epidemic Control.

 (1) Where a communicable disease which constitutes a serious danger to health is spreading
     either in the City or in the communities surrounding the City, and threatens to reach
     epidemic proportions unless immediately controlled; where the danger thereof is such that
     the Board does not have time to list the said disease as quarantinable and issue regulations
     for its effective control; and where the Mayor of the City has suspended the requirements
     of Section 8-407 of the Charter, the Department shall have the authority to issue orders,
     which shall be effective until the Board may meet and promulgate regulations, listing said
     disease as a quarantinable disease and providing for quarantine or isolation of persons
     who have, or are reasonably suspected of having, or have been exposed to such disease,
     providing for the control of animals, the control of environmental sanitation, and for such
     other measures as are necessary to prevent the spread of said disease. Any such orders
     shall include a termination date no more than 60 days from the date of effectiveness. The


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                                      City of Philadelphia
 BILL NO. 200678 continued


        Department shall be required to request approval from Council to extend such order
        beyond the initially specified termination date.

§ 6-206. Prevention of Congregation of Persons.

  (2) Whenever an epidemic of a listed quarantinable disease or whenever an emergency as
      described in subsection 6-205(1) is found to exist or to be seriously threatened, the
      Department may in accordance with the regulations of the Board, or by order, as the case
      may be, forbid congregation of persons at schools, theaters, swimming places, or any
      public place where such measure is necessary to prevent the spread of such disease. Any
      such orders shall include a termination date no more than 60 days from the date of
      effectiveness. The Department shall be required to request approval from Council to
      extend such order beyond the initially specified termination date.

  (3) Whenever measures preventing the congregation of persons are promulgated by the
      Board in accordance with regulations of the Board, or by order, as the case may deem
      necessary to prevent the spread of the disease, such measure shall include a termination
      date no more than 60 days from the date of effectiveness. The Department shall be
      required to request approval from Council to extend such order beyond the initially
      specified termination date.

                                        *       *          *

SECTION 2. This Ordinance shall be effective immediately.


___________________________________
Explanation:

[Brackets] indicate matter deleted.
Italics indicate new matter added.




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                                 CITY OF PHILADELPHIA
                             DEPARTMENT OF PUBLIC HEALTH
                            MEETING OF THE BOARD OF HEALTH

                                   Thursday, September 10, 2020

The Philadelphia Board of Health held a special public meeting on Thursday, September 10,
2020. The meeting was held virtually using the GoToWebinar platform in light of restrictions
related to the ongoing COVID-19 pandemic, allowing access to the public via computer or other
device and via a toll-free phone number.

Board Members Present

Dr. Tyra Bryant-Stephens, Dr. Ana Diez-Roux, Dr. Thomas Farley, Dr. Marla Gold, Dr. Jennifer
Ibrahim, Dr. Scott McNeal, Dr. John Rich

WELCOME AND INTRODUCTIONS

Health Commissioner and Board President Thomas Farley, MD, MPH called the meeting to
order at 6:05 PM.

MINUTES

The Board unanimously approved the minutes from August 13, 2020.

BACKGROUND

Dr. Farley provided an update on the COVID-19 coronavirus pandemic. The Health Department
reports that case counts have been relatively level for a few weeks, albeit with a spike due to an
outbreak on Temple’s campus, then a drop after that. Hospitalizations continue to be low
throughout the entire region. The number of deaths is also continuing to drop, with only four
deaths in the last week of August, which is 98% below the peak week in April. There are about
60 testing sites and are receiving about 3,000 results per day. Contact tracing is happening, with
about 120 staff doing case investigations and contact tracing. They are reaching about 70% of
cases and about 75% of contacts. Mask use among people exiting retails store is approaching
95%. Through a state grant, Penn, Temple, and Jefferson health systems are working with
nursing homes and personal care homes to assist with testing, infection control, and response.


ELEVENTH SUPPLEMENTAL EMERGENCY REGULATION GOVERNING
THE CONTROL AND PREVENTION OF COVID-19 (INDOOR EXERCISE
AND RECREATION FACILITIES)

Jo Rosenberger-Altman, City of Philadelphia Law Department, presented a supplemental
regulation approving two interim orders on reopening indoor exercise gyms and recreation
facilities. Limitations in the orders include a barring of food or drink in the facilities, adequate
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spacing, and mask wearing. These orders are similar to other orders in terms or recommendations
made for safety.

Dr. Farley noted that the Health Department has, for the first time, begun inspecting gyms as a
result of this order and has found that the vast majority have been compliant. The inspections
look for mask use, adequate spacing between exercise machines, and adherence to capacity
limits.

Dr. Ibrahim moved; Dr. McNeal seconded.
Motion for approval of regulation approved unanimously.

TWELFTH SUPPLEMENTAL EMERGENCY REGULATION GOVERNING
THE CONTROL AND PREVENTION OF COVID-19 (INDOOR DINING AND
THEATER)

The second order, effective September 8, is about indoor dining and indoor theaters and
performance events. For indoor events, there are capacity limits and a barring of food or drink
service as well as social distancing and mask requirements. Indoor dining rules are more strict
than for the rest of the Commonwealth: for example, in addition to wearing masks servers must
wear face shields, only four or fewer people per table, no smoking or vaping areas, service at
bars is prohibited, alcohol service is limited to on-site consumption with a meal, and there are
additional capacity limits and a reiteration of indoor events capacity limits.

Dr. Farley mentioned that he has spoken with his counterparts in other counties and they haven’t
seen problems with an increase in cases associated with that activity. He feels that the greatest
risk is to the servers, who will come in contact with large numbers of unmasked people. The
Health Department is having volunteers visit restaurants to help educate them on the new
recommendations in addition to normal restaurant inspections.

Dr. McNeal moved; Dr. Ibrahim seconded.
Motion for approval of regulation approved unanimously.

ADJOURNMENT

Dr. Farley adjourned the meeting at 6:55 PM.
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FRITZ & BIANCULLI, LLC
By:    BRIAN E. FRITZ, ESQUIRE
       WILLIAM A. WEISS, ESQUIRE                          ATTORNEYS FOR PLAINTIFF
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Philadelphia, Pennsylvania 19102
(215) 458-2222
bfritz@fbesq.com
wweiss@fbesq.com

PHILADELPHIA RESTAURANT                :
OWNERS AGAINST LOCKDOWN, LLC :
                                       :           COURT OF COMMON PLEAS
                      Plaintiff,       :           PHILADELPHIA COUNTY
                                       :
       v.                              :           DECEMBER TERM, 2020, NO.
                                       :
JAMES KENNEY, in his official capacity :           THE HONORABLE PAULA PATRICK
as Mayor of the City of Philadelphia   :
                                       :
              AND                      :
                                       :
THOMAS A. FARLEY, in his official      :
capacity as Health Commissioner        :
                                       :
              AND                      :
                                       :
CITY OF PHILADELPHIA                   :
                                       :
              AND                      :
                                       :
PHILADELPHIA DEPARTMENT OF             :
PUBLIC HEALTH                          :
                                       :
                      Defendants.      :


                     MEMORANDUM OF LAW IN SUPPORT OF
        PLAINTIFF’S MOTION FOR A SPECIAL AND PRELIMINARY INJUNCTION

   I.       MATTER BEFORE THE COURT

         Plaintiff, Philadelphia Restaurant Owners Against Lockdown, LLC’s, Motion for a

Special and Preliminary Injunction and Prayer for Declaratory Judgment as Ancillary Relief



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pursuant to Pennsylvania Rule of Civil Procedure §§ 1531 and 1602 against Defendants, James

Kenney, in his official capacity as Mayor of the City of Philadelphia, Thomas A. Farley, in his

official capacity as Health Commissioner, the City of Philadelphia, and the Philadelphia

Department of Public Health, to enjoin the Defendants from enforcing their Emergency

Restrictions, including the November 24, 2020 Safer at Home Restrictions, as said restrictions

violate bedrock constitutional principles of our Commonwealth and our nation, namely, the

prohibition against the delegation of power, and the due process right to work.

   II.     QUESTIONS PRESENTED

           a. Have the Defendants’ actions since March 2020, and most recently with the

               enactment of the Safter at Home Restrictions, violated the non-delegation doctrine

               of the Pennsylvania Constitution by their usurpation of all three (3) branches of

               government, and total disregard for procedural safeguards that protect against

               arbitration regulations?

           b. Have the Defendants’ actions since March 2020, and most recently with the

               enactment of the Safter at Home Restrictions, violated the substantive due process

               right to work, which is a fundamental freedom protected by the United States

               Constitution and Pennsylvania Constitution pay passing and enforcing arbitrary

               regulations against businesses, thereby depriving Plaintiff of his occupation and

               livelihood, without providing any evidence of the rationale behind their

               restrictions?

           c. Should the Defendants’ be enjoined from furthering ongoing constitutional

               violations, so that the status quo may be maintained?




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             d. Should the Court enter a Declaratory Judgment as Ancillary Relief that

                Defendants’ emergency regulations are deemed void and unenforceable because

                they violate Plaintiff’s constitutional and civil rights, violate the non-delegation

                doctrine and separation of powers of the Pennsylvania Constitution, and violate

                the Philadelphia Home Rule Charter, as well as City Council’s intent?

             Suggested Response: Yes. The Defendants’ conduct is an unconstitutional

             encroachment into all three (3) of government, in violation of the non-delegation

             doctrine, and an irrational assault on Plaintiff’s fundamental right to work based on ad

             hoc, unexplained reasoning. Accordingly, the Defendants should be enjoined from

             continuing to violate the constitutional rights of Plaintiff because Plaintiff is suffering

             an irreparable harm which is causing him greater injury than the Defendants will

             suffer if the status quo is preserved. Plaintiff is likely to prove that the Defendants’

             conduct is unconstitutional, and an injunction will stop that conduct. The public

             clearly has an interest in maintaining their guaranteed constitutional rights. Plaintiff is

             entitled to Declaratory Judgment as Ancillary Relief, and Defendants’ emergency

             regulations are deemed void and unenforceable.

   III.      FACTUAL BACKGROUND

          On March 11, 2020, Defendant, Mayor James Kenney, entered an Order suspending the

legislative provisions afforded under Philadelphia Code § 8-407. In conjunction with this

suspension, Defendants, Dr. Tom Farley (a pediatrician) and the Philadelphia Board of Health,

issued the first of eighteen Emergency Regulations. These regulations effectively closed gyms,

catering halls, restaurants and other businesses.




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       In the months that followed, Defendant, Dr. Tom Farley (a pediatrician), allowed the closed

businesses to re-open on a limited basis and with restrictions in place. These initial business lock

downs and ongoing operating restrictions were premised on a notion that these businesses were

likely to cause the spread of the COVID virus. Over the course of the next 281 days (March 11,

2020 to December 17, 2020), Defendants had the opportunity to engage in efforts and scientific

methodology to determine if their initial hunches and guesses were correct.

       To date, Defendants have provided no evidence that the gyms, restaurants or catering halls

or other businesses had/have contributed to the COVID infections in the City of Philadelphia. To

date, Defendants have provided no information on what efforts, if any, they took to determine if

operating limitations imposed on gyms, restaurants or catering halls in Philadelphia were effective.

To date, Defendants have provided no information on what efforts they undertook or the results of

same to determine whether any other businesses contributed to the spread of COVID. To date,

Defendants have provided no information to support their notion that Philadelphia gyms,

restaurants or catering halls are more likely contributors to the spread of COVID than other

businesses or activities. To date, Defendants have provided no information to support their notion

that lockdowns of Philadelphia gyms, restaurants or catering halls actually mitigates the spread of

COVID. In fact, the last published meeting minutes of the Board of Health indicate the following:


            •   Gyms in Philadelphia were largely compliant with COVID restrictions

            •   Philadelphia had more restrictions on restaurants than the surrounding suburbs

            •   The less restrictive suburbs reported that they had seen no increase in COVID

                infections related to restaurants

                See infra.



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       From March 11, 2020 to present, Defendant, Dr. Tom Farley (a pediatrician), has

referenced and relied upon the Centers for Disease Control (CDC) as an authority on the COVID

virus. On November 18, 2020, the CDC published guidelines for dining establishments related to

COVID mitigation. See infra. Nowhere in these published guidelines did the CDC ever mention,

discuss or recommend lockdowns of restaurants as a necessary step to prevent the spread of

COVID. Id.

       The CDC Guidelines expect that restaurants would continue to operate, and do not express

the looming fear that the Board of Health has promoted without substantiation. For example, the

CDC sets forth as follows:




       See Infra.

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       The CDC, the authority relied upon and referenced by Defendants, does not share or

support the Defendants’ pessimism regarding restaurants. In fact, the tone and content of the CDC

guidelines for restaurants paint a picture of an expectation that restaurants can and will continue

to be open and operational. The CDC does not remotely state, suggest or imply that the Draconian

action of shut downs is necessary, warranted or even effective. To the contrary, the CDC actually

says that restaurants can implement several strategies that reduce the spread of COVID.

       The contrast between the authority in the field, the CDC, versus Defendants, Dr. Tom

Farley and the Philadelphia Health Department, begs specific questions that have never been

answered:


            •   What has the Philadelphia Department of Health compiled to reach such a drastic

                conclusion that shut downs are a remedy?

            •   What has the Philadelphia Department of Health relied upon to reach its

                conclusions that are so starkly different from the Center for Disease Control?

            •   What studies has the Philadelphia Department of Health commissioned or

                conducted regarding Philadelphia based businesses and the spread of COVID since

                March 2020?

            •   What has the Philadelphia Department of Health done to determine that continuing

                the implementation of restrictions during restaurant operations would be less

                effective than a full shut down of an entire industry?

            •   What exactly is the “science” that the Philadelphia Department of Health has either

                compiled, generated or relied upon to justify an of the restrictions that it has

                implemented since March 2020?



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           Notwithstanding the lack of CDC support of lockdowns in relation to COVID, Defendant,

Dr. Tom Farley (a pediatrician), issued an Order to close indoor dining, gyms and catering halls in

the City. This Order went into effect on November 20, 2020, two days after the aforementioned

guidelines of the CDC.

           For nearly one year, the Defendants have acted as the legislative, executive and judicial

branches ruling over the City and wielding power through perpetual “Emergency” regulations.

There is no evidence that the Defendants have engaged or consulted with City Council, the actual

legislative body of the City, in relation to the enactment of COVID restrictions. There is no

evidence that the Defendants intend to yield their unprecedented consolidation of power. The

actions of the Defendants against the business owners subject to the November 20, 2020,

lockdowns supports that position, as well as the instant application and requirement for judicial

relief.

              a. THE BOARD OF HEALTH HAS ENGAGED IN INTIMIDATION
                 TACTICS AGAINST BUSINESS OWNERS

           As soon as the lockdown regulations went into effect, Board of Health inspectors began to

descend on restaurant owners to issue citations, threaten and close businesses down entirely for

periods of 48 hours or more. To display their power, the Health Inspectors would arrive at

establishments accompanied by multiple Pennsylvania State Troopers, with as many as 20 troopers

with them. This complement of State Troopers may be something expected with the apprehension

of a dangerous fugitive, but it is entirely illogical with enforcing COVID regulations. In fact, the

only logical explanation for such an unnecessary show of force is to scare and intimidate business

owners, while simultaneously placing them on display for public ridicule and stigmatization.




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           b. THE BOARD OF HEALTH ISSUES CEASE OPERATION ORDERS
              BASED ON NON-EXISTENT OR INAPPLICABLE CODE SECTIONS

       To further their lockdown order, the Board of Health is issuing cease operation orders that

must be posted on the front windows of businesses. The Board of Health has issued these cease

operation orders on the basis of Philadelphia COVID Code §§70.0.1, 70.0.2, 70.0.3 and 70.0.4.

However, these sections DO NOT EXIST in the Philadelphia Code and the Philadelphia City

Council never passed any such sections. This reference is the belief that the Board of Health’s

regulations are NOW the Philadelphia Code, which it does not have the power to do.

       Further, the Board of Health has issued COVID cease operation orders pursuant to §§6-

205, 6-206 and 19-2602. These sections actually state as follows:

       Title 6. Health Code
       Chapter 6-200. Preventive Medicine


       § 6-205. Emergency Epidemic Control.

         (1) Where a communicable disease which constitutes a serious danger to health is
         spreading either in the City or in the communities surrounding the City, and threatens to
         reach epidemic proportions unless immediately controlled; where the danger thereof is
         such that the Board does not have time to list the said disease as quarantinable and issue
         regulations for its effective control; and where the Mayor of the City has suspended the
         requirements of Section 8-407 of the Charter, the Department shall have the authority to
         issue orders, which shall be effective until the Board may meet and promulgate
         regulations, listing said disease as a quarantinable disease and providing for quarantine
         or isolation of persons who have, or are reasonably suspected of having, or have been
         exposed to such disease, providing for the control of animals, the control of
         environmental sanitation, and for such other measures as are necessary to prevent the
         spread of said disease.

       § 6-206. Prevention of Congregation of Persons.

         (1) Whenever an epidemic of a listed quarantinable disease or whenever an emergency
         as described in subsection 6-205(1) is found to exist or to be seriously threatened, the
         Department may in accordance with the regulations of the Board, or by order, as the
         case may be, forbid congregation of persons at schools, theaters, swimming places, or
         any public place where such measure is necessary to prevent the spread of such disease.

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       Title 19. Finance, Taxes and Collections
       Chapter 19-2600. Business Income and Receipts Taxes

       § 19-2602. Licenses.

        (1) Every person desiring to engage in or to continue to engage in any business within
            the City of Philadelphia shall, whether or not such person maintains a place of
            business in the City, prior to engaging in such business, procure a commercial
            activity license from the Department of Licenses and Inspections. A person
            exclusively engaged in a hobby or other not-for-profit activity, excluded from the
            definition of business set forth in Section 19-2601, shall not be required to procure
            or maintain a commercial activity license.

         (2) There shall be no fee for the issuance of the business privilege license required by
             this Section…

       The foregoing Code sections are entirely inapplicable to any basis for closure of a business

for purported COVID violations.

       The Board of Health clearly has no idea what is or is not a violation, but is intent on citing

these business owners for something and closing their businesses down for days on end. Business

owners cannot comply with non-existent code sections or sections that have absolutely nothing to

do with COVID restrictions. In fact, what business owners should or should not do is not known

and is strictly left to the whimsical and subjective determination of the Health Inspector. The

Health Inspectors when concluding an outdoor tent arrangement is “non-compliant” they have

refused to provide their basis stating “I cannot say, because you will hold me to it.” In essence, the

Board of Health has created a Kafkaesque game of “Go Fish” for the Business Owners as they

have no idea what they have violated, how they can be in compliance or what the inspector may

find wrong at any given “COVID” inspection. However, their businesses continue to be closed by

the Health Department.

           c. THE BOARD OF HEALTH HAS ENGAGED IN THREATS AGAINST
              BUSINESS OWNERS

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       In the process of attempting to appease the Board of Health and have cease operations

orders lifted, Business Owners have been confronted with Health Inspectors threatening to force

the owners to remove outdoor tents or state that the business needs additionally permits from the

department of Licenses and Inspections (L&I). In fact, the Health Inspectors have threatened to

bring L&I to the location for a “full inspection” of the premises.

       What is implied with that threat, is the prospect of L&I possibly issuing fines, requiring

additional construction or possibly declaring that some other forms of operation permits are

required. All of which serves to add potential costs to the business owners, who are already on

financial life support. The Health Inspectors have even refused to return to locations for a “re-

inspection,” which leaves the cease operations orders in place with an ongoing loss of revenue. To

the extent these business owners have been able to expend the vast sums to provide for “outdoor

dining” in the Winter months in Philadelphia, they are now burdened with the Health Department

threatening to increase their costs or subject the business owners to the threat of additional

inspections, fines and extended cease operations orders.

           d. THE BOARD OF HEALTH’S DETERMINATION OF WHICH
              BUSINESSES MUST BE LOCKDOWNED AND WHICH BUSINESSES
              CAN REMAIN OPEN IS INEXPLICABLE AND ARBITRARY

       Defendants have now reverted to the business closures that existed in March 2020.

However, since the initial Orders were put in place, the Defendants have failed to provide any

information or scientific validation that closing gyms, restaurants and/or catering halls actually

achieves their stated purpose. In fact, Defendants’ determination of what is safe versus unsafe has

not been explained. Thus, one is left to their own attempts to reach a logical conclusion, which

proves to be a maddening Sisyphean endeavor.


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       For example, the Defendants have failed to explain how the COVID virus behaves so

differently in big box retail stores versus a restaurant or a gym. Or, how dining in an outdoor

enclosure in the Winter months is safer than the more traditional dining setting at an indoor table.

The Defendants have had almost one year to prove or disprove their hunches and theories;

however, their lack of produced information on these issues suggests they have failed to do so.

       The Defendants have issued regulation after regulation impacting businesses based on their

beliefs without providing the necessary support, which should not have to be requested. At present,

the Defendants have condemned business owners and their employees to economic annihilation,

while they watch other businesses, including the City operated Christmas Village, flourish and be

packed with patrons.

       Our Courts and the Framers of our State and Federal Constitutions prophetically

anticipated that consolidation of power into one group would lead to arbitrary decision making

when left unchecked, and they prohibited such occurrences. The present Safer at Home

restrictions, as well as the perpetual Emergency powers of the Defendants provide a concrete and

real-life depiction of what our Supreme Court and the Framers provided safeguards against, as the

actions of Defendants and the application of their restrictions squarely fits within our Supreme

Court’s definition of arbitrary: “based on random or convenient selection or choice rather than on

reason or nature.” Thunberg v. Strause, 545 Pa. 607 (1996).




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       The Defendants’ ad hoc regulations, which are heavy on fear, and light on facts, have led

to absurd results. We are living in a city where this is “legal:”




                                 Christmas Village packed with guests

       But this is illegal, and will result in numerous fines and a cease operations order:




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 Where Walmart is allowed to operate like this:




            Photo taken at the South Philadelphia Walmart on 12/17/20




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         But, this indoor dining like this is forbidden:




   IV.      LEGAL ARGUMENT

            a. THE PENNSYLVANIA CONSTITUTION PROHIBITS THE
               DELEGATION OF POWERS

         The Pennsylvania Constitution states that "[t]he legislative power of this Commonwealth

shall be vested in a General Assembly, which shall consist of a Senate and a House of

Representatives." See PA CONST. art. II, § 1. When the General Assembly empowers some other

branch or body to act, our jurisprudence requires "that the basic policy choices involved in

'legislative power' actually be made by the legislature as constitutionally mandated." Tosto v. Pa.

Nursing Home Loan Agency, 331 A.2d 198, 202 (Pa. 1975).

         This constraint against the delegation of power serves two purposes. First, it ensures that

duly authorized and politically responsible officials make all the necessary policy decisions, as is

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their mandate per the electorate. Wm. Penn Parking Garage, Inc. v. City of Pittsburgh, 346 A.2d

269, 291 (Pa. 1975) (emphasis added). And second, it seeks to protect against the arbitrary

exercise of unnecessary and uncontrolled discretionary power. Id.(emphasis added). At the

heart of the non-delegation doctrine is the tenet that the General Assembly cannot delegate "to any

other branch of government or to any other body or authority" the power to make law. See State

Bd. of Chiropractic Exam'rs v. Life Fellowship of Pa., 272 A.2d 478, 480 (Pa. 1971). Or, as John

Locke put it, legislative power consists of the power "to make laws, and not to make

legislators." Protz v. Workers’ Comp. Appeal Bd., 639 Pa. 645, 655 (2017) (citing JOHN LOCKE,

SECOND TREATISE OF GOVERNMENT 87 (R. Cox ed.1982)). Indeed, the rule against delegation of

power is essential to the American system of representative government. The framers of the

Constitution believed that the integrity of the legislative function was vital to the preservation of

liberty. See Dep't of Transp. v. Ass'n of Am. Railroads, 135 S.Ct. 1225, 1237 (2015) (Alito, J.,

concurring) ("The principle that Congress cannot delegate away its vested power exists to protect

liberty.")

        Our Courts have frequently reviewed “delegation of powers” cases and placed significant

restraints on agencies, such as the Department of Public Health, that make laws and regulations

pursuant to their purported delegated authority. For example, in Tosto v. Pennsylvania Nursing

Home Loan Agency, 331 A.2d 198 (Pa. 1975), the Pennsylvania Supreme Court reviewed a

taxpayer’s lawsuit seeking an injunction of the Nursing Home Loan Agency Law, which was

passed by the defendant, and stressed the importance of procedural mechanisms that serve to limit

or prevent the arbitrary and capricious exercise of delegated power. The statute at issue in Tosto

required that the administrative agency establish neutral operating procedures, develop

standardized documents, and give the public notice of proposed agency rules and regulations



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before promulgating them. Id. at 204. Although the Court upheld the law, it found that such

procedural mechanisms were “important safeguards against the arbitrariness of ad hoc decision-

making.”     Id. As discussed more fully herein, the procedural safeguards and requirements

identified by the Tosto court are not present in Defendants’ actions in the present matter, or in the

Safer at Home Restrictions.

       Likewise, in W. Phila. Achievement Charter Elementary Sch. v. Sch. Dist. of Phila., 635

Pa. 127 (2016), the Pennsylvania Supreme Court reviewed provisions in the Public School Code

that gave sweeping power to the School Reform Commission to improve the finances of distressed

Philadelphia public schools, with very few procedural restrictions. The Court found that this

delegation of power was unconstitutional, and violated the non-delegation doctrine, because it

did not include concrete measures to channel the Commission's discretion to wield its

suspension power, nor did it include safeguards to protect against arbitrary, ad hoc decision

making, such as a requirement that the Commission hold hearings, allow for public notice and

comment, or explain the grounds for its suspensions in a reasoned opinion subject to judicial

review. Id. at 142-43 (emphasis added).The issues and concerns that formulated the basis for the

holding in W. Phila. Achievement Charter Elementary Sch. are identical to our present situation,

except the Safer at Home Restrictions and the Defendants’ actions since March 2020 provide the

actual manifestation of the Pennsylvania Supreme Court’s prophetic concerns, versus a theoretical

potential.

       In Protz v. Workers’ Comp. Appeal Bd., 639 Pa. 645 (2017), the Pennsylvania Supreme

Court invalidated Section 306(a.2) of the Workers’ Compensation Act (“Act”) for violating the

non-delegation doctrine. Section 306(a.2) permitted employers to demand an injured claimant

undergo an evaluation to determine their level of impairment. Id. at 650. The Act required



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physicians determine a claimant’s level of impairment using guidelines set forth by the American

Medical Association (“AMA”). Id. After being denied a permanent impairment rating, Plaintiff

appealed, and claimed that Section 306(a.2), and its reliance on guidelines set forth by the AMA,

was an unconstitutional delegation of power from the General Assembly to the AMA. The

Pennsylvania Supreme Court agreed, and found Section 306(a.2) unconstitutional. Id. at 668. The

Court found that the AMA failed to rely on a standardized methodology to create their guidelines.

Id. at 658. They were, in essence, free to change their guidelines as frequently or as infrequently

as they wished. Id. at 659. Thus, the AMA had de facto, unfettered control over Pennsylvania’s

Workers’ Compensation Act. Id. In striking down the law, the Court held:

               The Pennsylvania Constitution prevents the General Assembly from passing off to
               another branch or body de facto control over matters of policy. As we have
               explained, this is exactly what the General Assembly did in Section 306(a.2).
               Because we must enforce Article II, Section 1 [of the Pennsylvania Constitution]
               without consideration of the exigencies that arise or "how trying our economic or
               social conditions become"… Section 306(a.2) violates the non-delegation doctrine.

               Id. at 668.

       The Safer at Home Restrictions embody the concerns raised with the unconstitutional

delegation of power in Protz. There is no standardized methodology or definition provided in the

Safer at Home Restrictions as to why some businesses must shut down entirely, such as indoor

catering, while others are permitted to remain open, like national big-box retailers. Since there is

no standardization to their methodology, the Defendants have been allowed to change their

guidelines at will, as frequently or infrequently as they please, with no time constraints.

Accordingly, the Safer at Home Restrictions are the very definition of arbitrary.




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           b. THE SAFER AT HOME RESTRICTIONS ARE UNCONSTITUTIONAL
              BECAUSE THEY VIOLATE THE NON-DELEGATION OF POWERS
              DOCTRINE

                           i. BACKGROUND OF THE SAFER AT HOME
                              RESTRICTIONS

       On November 16, 2020, Defendant Kenney signed the Emergency Order Concerning

Additional Limitations on Visiting, Gatherings, Events and Businesses for Fall/Winter 2020-21,

Establishing Additional Safety Measures to Prevent the Spread of the 2019 Novel Coronavirus

(COVID-19) and Continuing to Advise that Philadelphians are Safer at Home (hereinafter “Safer

at Home Restrictions”). See Safer at Home Restrictions, attached as Exhibit “A.” The Safer at

Home Restrictions went into “law” at 5 p.m. on November 20, 2020, and expire at the end of the

day on January 1, 2021. See Exhibit “A” at p. 11. The Safter at Home Restrictions place a total

ban on indoor on-site dining, catering, and gyms. See Exhibit “A” at §§ 5(A), 5(C) and 8(a).

       On November 24, 2020, Defendant, City of Philadelphia, by and through Defendant, the

Department of Public Health, adopted the Safer at Home Restrictions in its entirety, and enacted

emergency regulations consistent thereto. See Eighteenth Supplemental Emergency Regulation

Governing the Control and Prevention of COVID-19 (Safer at Home Fall-Winter Restrictions),

attached as Exhibit “B.”

                           ii. LEGISLATIVE POWER BELONGS TO CITY COUNCIL,
                               NOT   ADMINISTRATIVE  AGENCIES LIKE    THE
                               PHILADELPHIA DEPARTMENT OF PUBLIC HEALTH

       Legislative power of the City of Philadelphia rests exclusively with an elected City

Council. This is codified in Philadelphia Home Rule Charter §1-101, which says “[t]he

legislative power of the City… shall be exclusively vested in and exercised by a Council, subject

only to the provisions of this charter.” See Philadelphia Home Rule Charter § 1-101.



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       The Department of Public Health was also created pursuant to the Philadelphia Home

Rule Charter to administer and enforce statutes, ordinances, and regulations relating to public

health. See Philadelphia Home Rule Charter § 5-300(a). Pursuant to Philadelphia Home Rule

Charter §5-301(b), the Board of Health was created to make “reasonable regulations, not

contrary to any statute or ordinance, for the preservation and promotion of the health of the

people of the City.” See Philadelphia Home Rule Charter §5-301(b).

       Critically, the Board of Health’s power is limited and distinct from the legislative

function of City Council. As set forth in the notes to Philadelphia Home Rule Charter §5-301,

“[t]he power of the Board to make regulations is, under existing case law, an administrative

function. The Board, cannot, therefore, legislate. [Legislating] remains a function of the

Council.” See Philadelphia Home Rule Charter §5-301 at n. 3.

       Philadelphia Code §§ 6-205 and 6-206 set forth emergency scenarios under which the

Department of Health and Board of Health may act. See Philadelphia Code §§ 6-205 and 6-206.

Philadelphia Code § 6-205 relates to emergency epidemic control, and provides:

               Where a communicable disease which constitutes a serious danger to health is
               spreading either in the City or in the communities surrounding the City, and
               threatens to reach epidemic proportions unless immediately controlled; where the
               danger thereof is such that the Board does not have time to list the said disease as
               quarantinable and issue regulations for its effective control; and where the Mayor
               of the City has suspended the requirements of Section 8-407 of the Charter, the
               Department shall have the authority to issue orders, which shall be effective until
               the Board may meet and promulgate regulations, listing said disease as a
               quarantinable disease and providing for quarantine or isolation of persons who
               have, or are reasonably suspected of having, or have been exposed to such
               disease, providing for the control of animals, the control of environmental
               sanitation, and for such other measures as are necessary to prevent the spread of
               said disease.

               See Philadelphia Code § 6-205.




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       Philadelphia Code § 6-206 enables the Philadelphia Board of Health to enact restrictions

on the congregation of persons during an epidemic:

               Whenever an epidemic of a listed quarantinable disease or whenever an
               emergency as described in subsection 6-205(1) is found to exist or to be seriously
               threatened, the Department may in accordance with the regulations of the Board,
               or by order, as the case may be, forbid congregation of persons at schools,
               theaters, swimming places, or any public place where such measure is necessary
               to prevent the spread of such disease.

               See Philadelphia Code § 6-206.

       Since March 2020, the Defendants have been acting pursuant to §§ 6-205 and 6-206 in an

absolute and unchecked manner. This has now emerged in the most resent Safer at Home

Restrictions presently in effect, and discussed herein.

                          iii. THE DEPARTMENT OF HEALTH HAS IMPERMISSIBLY
                               ENGAGED IN LAW MAKING AND HAS FAILED TO
                               FOLLOW    PROCEDURAL    LIMITATIONS    AND
                               REQUIREMENTS

       The protocol and procedure that must be followed by the Defendants for enacting

regulations is set forth in Philadelphia Home Rule Charter § 8-407, which provides that a

department, board, or commission promulgating a regulation shall first submit them for approval

to the Law Department, and, upon receiving approval from the Law Department, file the regulation

with the Department of Records, where the regulation shall be available for public inspection for

thirty (30) days. See Philadelphia Home Rule Charter § 8-407(a). The Department of Records

shall give public notice of the regulation by advertising in three (3) daily newspapers, advising that

any person affected by the regulation may request a hearing. If a person affected by the regulation

requests a hearing, then he/she shall be afforded a public hearing before the department. See

Philadelphia Home Rule Charter § 8-407(b)-(c).




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        Critically for purposes of this motion, “the requirements of [Philadelphia Home Rule

Charter § 8-407] may be suspended by the Mayor in writing and temporary regulations

promulgated in emergencies affecting the public health or safety, but any regulations so put into

force shall NOT remain effective unless the procedures otherwise required by this section

are complied with forthwith.” See Philadelphia Home Rule Charter § 8-407 (emphasis added).1

As the notes to Philadelphia Home Rule Charter § 8-407 explain, administrative agencies, such as

Defendant, Philadelphia Department of Public Health, may not legislate. See Philadelphia Home

Rule Charter § 8-407 at n. 2 (emphasis added). The requirement to hold a hearing forthwith is

intended to protect persons who will be affected by arbitrary administrative action.                           See

Philadelphia Home Rule Charter § 8-407 at n. 3 (emphasis added).

        Although emergencies affecting the public health or safety may require immediate action

through regulations, and regulations in emergencies may go into force immediately if the Mayor

suspends the procedural requirements of § 8-407, “for such temporary regulations to remain

effective, the steps normally required by this section must immediately be initiated and

followed.” See Philadelphia Home Rule Charter § 8-407 at n. 11 (emphasis added).

                              iv. THE DEFENDANTS HAVE FAILED TO FOLLOW THE
                                  SPECIFIC PROCEDURAL REQUIREMENTS OF § 8-407,
                                  THUS THEIR REGULATIONS INCLUDING THE SAFER
                                  AT HOME REGULATIONS ARE VOID

        Presently, the restrictions at issue have been elongated by the unquestioned “suspension”

of § 8-407 by Defendant Kenney on March 11, 2020. That order has been in place for 9 months

and 6 days, without the procedural requirements of § 8-407 being observed. Therefore, the

failure to follow the required procedures renders the Mayor’s emergency suspension of §8-407 ,


1
  Defendant Kenney did, in fact, suspend the formal requirements of §8-407 in writing on March 11, 2020. But, as
referenced herein, the Defendants are required to comply with the plain-language and spirit of the law immediately
thereafter. They have failed to do so.

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and the 18 derivative “emergency” orders and regulations issued by the Philadelphia Department

of Heath and the Board of Heath VOID.

       The Philadelphia Home Rule Charter specifically prohibits the Defendants’ actions. It

states that the procedural safeguards against arbitrary regulations must be immediately followed,

or else the temporary, emergency regulations cannot remain effective because administrative

agencies cannot legislate and create new law. See Philadelphia Home Rule Charter § 8-407 at

n. 2. Despite the limitations built into the Philadelphia Home Rule Charter and the Pennsylvania

Constitution– namely, that only City Council may pass legislation, that agencies must follow a

specific protocol to prevent passing arbitrary regulations, that administrative agencies are

restricted from acting as legislative bodies, and the non-delegation doctrine – the Defendants have

violated all procedural and constitutional norms in passing the “Safer at Home Restrictions.”

       The Defendants’ actions are analogous to the unconstitutional delegation of power in W.

Phila. Achievement Charter Elementary Sch., where the Pennsylvania Supreme Court invalidated

the Public School Code because the School Reform Commission was not mandated to hold

hearings, allow for public notice and comment, or explain the grounds for its suspensions in a

reasoned opinion subject to judicial review. See W. Phila. Achievement Charter Elementary Sch.

v. Sch. Dist. of Phila., 635 Pa. 127 (2016). Here, the Defendants have simply disregarded all

requirements to provide notice, allow for public comment, and explain the rationale behind their

decision-making. Failing to follow these critical safeguards allows for ad hoc policymaking, in

contravention of the Pennsylvania Constitution.

       The Defendants’ conduct is also comparable to the unconstitutional behavior in Protz,

because they have gained de facto control over all legislation surrounding COVID-19, and

maintain unfettered, never-ending discretion to pass laws without following the procedural



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requirements. See Protz v. Workers’ Comp. Appeal Bd., 639 Pa. 645 (2017). The Defendants then

get to serve as prosecutor, judge and jury – enforcing their regulations, and imposing their own

fines and sanctions for failing to comply.

       With regard to the procedural safeguards of Philadelphia Home Rule Charter § 8-407, the

Defendants have:

           a. Failed to provide public inspection of the emergency regulations;

           b. Failed to provide public notice of the emergency regulations;

           c. Failed to allow affected citizens to request a hearing;

           d. Failed to hold a public hearing;

           e. Failed to not act arbitrarily in the creation and imposition of the Safer at Home

               Regulations;

           f. Attempted to legislate by failing to set forth a time-limit on the Safer at Home

               Regulations.

       While Philadelphia Code §§ 6-205 and 6-206 provide the authority to declare the spread of

disease such as the novel coronavirus, COVID-19, an epidemic, and take steps to prevent the

spread of the disease, this authority is limited by the procedural protections of the

Philadelphia Home Rule Charter §8-407, as referenced in the law itself. Specifically, when

the Mayor orders the suspension of the procedural requirements of Philadelphia Home Rule

Charter § 8-407, then the Philadelphia Department of Health and Board of Health may enact

regulations immediately, without following the usual requirements of the Philadelphia Home Rule

Charter § 8-407, such as public notice and inspection for thirty (30) days, with the opportunity for

an affected person to request a hearing prior to the enactment of the regulation. However, as

previously referenced, the Philadelphia Department of Public Health does not have carte blanche



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authority to enact regulations that are free from public scrutiny by affected persons. The

Philadelphia Home Rule Charter § 8-407 provides that, after a regulation is enacted emergently

under the Mayor’s emergency powers, the regulations put into force will not remain effective

unless the usual procedural requirements are immediately followed. See Philadelphia Home

Rule Charter § 8-407(c). The steps normally required to enact regulations, such as providing

public notice of their ability to request a hearing, and holding a public hearing, must be

immediately initiated, and followed. See Philadelphia Home Rule Charter § 8-407 at n. 11. Thus,

even under the authority provided by Philadelphia Code §§ 6-205 and 6-206, the Defendants have

failed to comply with the procedural requirements since March 2020 – over 9 months. Likewise,

the manifestation of their most recent transgression – the Safer at Home Restrictions – fail to

comply.

       Since the Safer at Home Restrictions failed to comply with the law and should be enjoined,

as they are procedurally void. As referenced herein, Defendants failed to follow the procedural

steps that must be immediately initiated after enacting emergency regulations, including failing to

provide public notice to allow persons affected by the Safer at Home Restrictions to request a

hearing, and failing to hold a public hearing (via remote technology or otherwise) with persons

affected by the Safer at Home Restrictions, despite the requirement that the procedure be followed

“forthwith.”   Accordingly, pursuant to the Philadelphia Home Rule Charter § 8-407, “any

regulations so put into force shall not remain effective unless the procedures otherwise

required by this section are complied with forthwith,” thus the Safer at Home Restrictions

violate the law on which they are based, and should be enjoined from further enforcement.




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                           v. THE SAFER AT HOME RESTRICTIONS VIOLATE
                              SEPERATION OF POWERS AS WELL AS THE NON-
                              DELEGATION   DOCTRINE,  RENDERING  THEM
                              UNCONSTITUTIONAL

       This abrogation of authority is the exact conduct that was forbidden and deemed

unconstitutional by our Supreme Court in Protz and W. Phila. Achievement Charter Elementary

Sch., as referenced herein. The Defendants’ appropriation of power far surpasses any official act

done on behalf of the local legislative, executive, or judicial branch through our city’s history. It

has resulted in a consolidation of all three (3) branches of government into a group of unelected

officials in the Department of Health and Board of Health.

       The separation of powers doctrine is essential to our tripartite governmental framework

and is the cornerstone of judicial independence. It is inherent in the Pennsylvania Constitution and

makes manifest that the three branches of government are co-equal and independent, and divides

power accordingly. Commonwealth v. Hill, 2020 Pa. Super. LEXIS 774, *5.

       The governing structure of our Commonwealth, like the federal government, is divided

into three equal branches, the legislative, see Pa. Const. art II, § 1 ("The legislative power of this

Commonwealth shall be vested in a General Assembly ...."); the executive, see Pa. Const. art. IV,

§ 2 ("The supreme executive power shall be vested in the Governor ...."); and the judicial, see Pa.

Const. art. V, § 1 ("The judicial power of the Commonwealth shall be vested in a unified judicial

system ...."). Id. The rationale underlying this separation of powers is that it prevents one branch

of government from exercising, infringing upon, or usurping the powers of the other two branches.

Id.

       To avert the danger inherent in the concentration of power in any single branch or body,

no branch may exercise the functions delegated to another branch. Jefferson County Court

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Appointed Employees Association v. Pennsylvania Labor Relations Board, 603 Pa. 482 (Pa.2009)

(emphasis added). The prohibition on one branch of government encroaching upon a sister

branch's powers is, in turn, related to the system of checks and balances, which prevents one

branch from acting unchecked. Id.

       For checks and balances to properly work, each branch must be kept from controlling or

coercing the other. Insuring that each branch is co-equal and independent is the foundation of

the separation of powers doctrine,   and     the    avoidance of      the    concentration     of

governmental powers in one branch is essential to our freedom and liberty. See

Commonwealth v. Hill, supra (emphasis added). In our Commonwealth, the roots of

the separation of powers doctrine run deep. The delineation of the three branches of government,

each with distinct and independent powers, has been inherent in the structure of Pennsylvania's

government since its genesis — the constitutional convention of 1776. Id. In the present scenario,

Defendants have inserted themselves into all three branches of government under the guise of a

perpetual emergency.

                          1. THE BOARD OF HEALTH                     HAS     ASSUMED         THE
                             LEGISLATIVE FUNCTION

       Intoxicated with their unchecked authority to legislate in violation of the Pennsylvania

Constitution and Philadelphia Home Rule Charter, the Defendants have even insinuated their

intention to make their emergency regulations permanent, as if it was a law:




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        See Exhibit “B” at p. 4.

       In recognition of this unprecedented consolidation of power, a bill was recently proposed

in City Council to reign in the Department of Public Health’s unconstitutional encroachment on

the legislature, seeking to put a sixty (60) day time limit on their authority under Philadelphia Code

§ 6-205 and § 6-206. See City of Philadelphia Bill No. 200678, attached as Exhibit “C.” By way

of introducing the aforementioned bill, coupled with the historically built-in restrictions on

granting “emergency” powers, City Council has acknowledged that the Board of Health is not only

“legislating,” but also it is acting beyond Council’s legislative intent in the passing of §§ 6-205, 6-

206 and 8-407. City Council’s proposed bill to put a time limit on the Defendants’ authority under

Philadelphia Code § 6-205 and § 6-206 shows that the Defendants have clearly been acting

contrary to City Council’s legislative intent.

       Indeed, the Safer at Home Restrictions, and the unfettered power being exercised by the

Defendants under the guise of Philadelphia Code § 6-205 and § 6-206, goes far beyond that of

other emergency regulations enacted by City Council throughout its history. For example, the

COVID-19 Emergency Housing Protections law was introduced as a bill by City Council pursuant

to their legislative authority. The bill passed, and was codified into law, with an end date of August

31, 2020. See Philadelphia Code § 9-809. Unlike the Safer at Home Restrictions, the COVID-19




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Emergency Housing Protections law came from City Council, the legislative body of the City, and

set forth a specific timeframe in which it would be valid: July 1, 2020 to August 31, 2020.

       Even the Mayor’s emergency powers at times of civil unrest are not as broad as the

unrestrained encroachment on the legislative branch by the Philadelphia Department of Health in

the Safer at Home Restrictions. Pursuant to Philadelphia Code § 10-819, the Mayor may declare a

state of emergency, and take specific enumerated actions if “the City or any part thereof is suffering

or is in imminent danger of suffering civil disturbance, disorder, riot or other occurrence which

will seriously and substantially endanger the health, safety and property of the citizens.” See

Philadelphia Code § 10-819. This power may only last two (2) weeks. See Philadelphia Code §

10-819(2). As the Pennsylvania Superior Court has explained, Philadelphia Code §10-819, and the

State of Emergency power granted to the Mayor of Philadelphia therein, only applies to riots. See

Commonwealth v. Stotland, 251 A.2d 701 (Pa. Super. 1968).

       In Stotland, the Superior Court reviewed three (3) summary criminal convictions following

the enactment of a state of emergency from April 5, 1968 at 9:00 p.m. to April 10, 1968 at 6:00

a.m. in response to “widespread public disorder” across the city and nation in the aftermath of the

Martin Luther King, Jr. assassination. Id. at n. 2. The state of emergency was enacted by the

Mayor of Philadelphia, pursuant to Philadelphia Code §10-819, and set forth limitations on groups

of twelve (12) people or more from assembling in the city. Id. The Petitioners challenged the

constitutionality of §10-819, but the Superior Court upheld all three (3) convictions, and, in the

concurring opinion, set forth a detailed analysis of the purpose of §10-819, and the limitations on

the Mayor of Philadelphia’s emergency powers under the law. Philadelphia Code §10-819

authorizes the Mayor of Philadelphia to declare a State of Emergency within the City, and to

impose certain extraordinary measures to maintain public order for the duration of the emergency



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period. Id. at 702. Emergency powers may only be invoked if may be invoked only if the city "is

suffering, or is in imminent danger of suffering civil disturbance, disorder, riot or other occurrence

which will seriously and substantially endanger the health, safety and property of the citizens…”

Id. at 704. The words "imminent danger" mean a "clear and present danger." Id. Thus, Philadelphia

Code §10-819 may only be enacted during a riot. As the Court explained:

               Both the ordinance and its history indicate that the only danger defined by the
               language "civil disturbance, disorder, riot or other occurrence" is a large scale urban
               riot. In 1964, a large scale riot occurring in Philadelphia resulted in scores of
               injuries and extensive property damage. During the summer of 1967, only one
               month prior to the enactment of Ordinance 10-819, the prospect of an impending
               riot of these proportions prompted the Mayor of Philadelphia to make an executive
               decree similar to the Proclamation of April 5 without legislative authorization. The
               ordinance was enacted to give the Mayor more effective power to restore order or
               prevent disorder in future outbreaks of this kind.

               The language of the ordinance supports the conclusion that the powers may be
               exercised only to control or avert a large scale riot. The eight specific measures
               which the Mayor is authorized to apply are uniquely designed to combat this
               catastrophic form of civil disorder. The powers to restrict surface and air
               transportation into and within the city are aimed at containing a riot within existing
               riot-struck areas. The prohibitions upon the sale of weapons and inflammable
               liquids are designed to restrict or prevent arson and violence by limiting the
               availability of articles which might be employed to these ends. Restrictions
               imposed on the sale of alcoholic beverages may prevent the further aggravation and
               release of inflamed passions and hostilities. The powers to limit public assembly
               and to impose a curfew provide readily enforceable crowd control devices during
               an existing riot and limit the opportunities for the public venting of emotions which,
               when there is a clear and present danger of riot, may turn the possibility of riot into
               reality.
               A large scale urban riot involving widespread arson, looting, vandalism and sniping
               is the most destructive form of civil disturbance. The magnitude of the rioting
               which has occurred in major cities in recent years is measured in scores of deaths,
               hundreds of injuries, and millions of dollars of property damage. 5 In many
               instances, city and state executives have been required to employ State National
               Guard or United States Army troops to restore order to the community.

               Id. at 704-5.

       In fact, the Court declared that §10-819 only authorizes the Mayor of Philadelphia to

declare a State of Emergency only after he has found there is a clear and present danger of a large

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scale civil disorder. Id. at 705. Such a State [of Emergency] may be declared only if the city is

faced with the clear and present danger of a riot. Id. at 706.

       The Defendants’ ongoing usurpation is a consolidation of all three (3) branches of

government, and violates the required separation of powers. To be sure, the Safer at Home

Restrictions are an unprecedented and unconstitutional exercise of power by an administrative

agency. The Defendants have encroached on the non-delegable legislative function of City

Council, in violation of Pennsylvania law. See e.g. Tosto, Protz, supra. They have ignored the

procedural safeguards required by the Pennsylvania Constitution, and Philadelphia Home Rule

Charter § 8-407, to protect citizens from the enactment and enforcement of arbitrary regulations.

They have exercised unrestrained emergency authority in ways never before seen, even by City

Council or the Mayor during times of emergency.

                           2. THE BOARD OF HEALTH                      HAS      ASSUMED        THE
                              EXECUTIVE FUNCTION

       The Safer at Home Restrictions also invade the executive functions of government. Under

the Philadelphia Home Rule Charter § 4-100, the Mayor is the chief executive officer of the City,

and shall be responsible for the conduct of executive work, administrative work, and law

enforcement within the City. See Philadelphia Home Rule Charter § 4-100.

       The Board of Health demonstrates its usurping of the executive role through its

administration of its restrictions, including the Safer at Home Restrictions. It now sits in the

executive role of law enforcement.

        Under Section 11 of the Safer at Home Restrictions, the Department of Health authorizes

itself to allow continuous inspection of affected premises, such as catering halls, restaurants, bars

and gyms:




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       See Exhibit “A” at § 11(c).

                          3. THE BOARD OF HEALTH HAS ASSUMED THE JUDICIAL
                             FUNCTION


       Under the Pennsylvania Constitution, judicial power of the Commonwealth rests in the

unified judicial system. See PA CONST. art. V, § 1.

       The Department of Health has assigned itself to hold hearings and determine not only guilt,

but also the consequences levied against any business or individual it determines is recalcitrant to

its directives. Specifically, the Safer at Home Restrictions allow Department of Health employees,

or other city employees, acting pursuant to the Safer at Home Restrictions to impose penalties,

fines, license suspensions, and, ominously, “other penalties.”




       See Exhibit “A” at § 11(d).




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                          vi. THE ARBITRARY SAFER AT HOME RESTRICTIONS
                              HAVE LED TO IRRATIONAL RESULTS

       The Defendants’ ad hoc regulations, which are heavy on fear, and light on facts, have led

to absurd results. We are living in a city where this is “legal:”




                               Christmas Village packed with guests

       But this is illegal, and will result in numerous fines and a cease operations order:




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 Where Walmart is allowed to operate like this:




            Photo taken at the South Philadelphia Walmart on 12/17/20




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       But, this indoor dining is forbidden:




       Accordingly, the Defendants’ ongoing regulations and the most recent Safer at Home

Restrictions violate the non-delegation and separation of powers doctrines of Pennsylvania law,

and are unconstitutional pursuant to Article 2, Section 1 of the Pennsylvania Constitution.

Moreover, they violate the procedural requirements to enact emergency regulations pursuant to the

Philadelphia Home Rule Charter and cannot be enforced.

           c. THE SAFER AT HOME RESTRICTIONS ARE AN
              UNCONSTITUTIONAL VIOLATION OF THE SUBSTANTIVE DUE
              PROCESS RIGHT TO WORK

                          i. THE RIGHT TO WORK IS PROTECTED BY THE UNITED
                             STATES CONSTITUTION AND PENNSYLVANIA
                             CONSTITUTION

       Substantive due process guarantees that “all fundamental rights comprised within the

term liberty are protected by the Federal Constitution from invasion by the States.” Planned



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Parenthood of Southeastern Pennsylvania v. Casey, 505 U.S. 833, 847 (1992)(quoting Whitney

v. California, 274 U.S. 357, 373 (1927)). This includes the right to work.

       In fact, the United States Supreme Court has stated:

               Yet, while the Court has eschewed rigid or formalistic limitations on the protection
               of procedural due process, it has at the same time observed certain boundaries. For
               the words "liberty" and "property" in the Due Process Clause of the Fourteenth
               Amendment must be given some meaning.

               While this Court has not attempted to define with exactness the liberty . . .
               guaranteed [by the Fourteenth Amendment], the term has received much
               consideration and some of the included things have been definitely stated. Without
               doubt, it denotes not merely freedom from bodily restraint but also the right of the
               individual to contract, to engage in any of the common occupations of life, to
               acquire useful knowledge, to marry, establish a home and bring up children, to
               worship God according to the dictates of his own conscience, and generally to enjoy
               those privileges long recognized . . . as essential to the orderly pursuit of happiness
               by free men." Meyer v. Nebraska, 262 U.S. 390, 399. In a Constitution for a free
               people, there can be no doubt that the meaning of "liberty" must be broad indeed.
               See, e. g., Bolling v. Sharpe, 347 U.S. 497, 499-500; Stanley v. Illinois, 405 U.S.
               645.

       Board of Regents v. Roth, 408 U.S. 564, 572 (1972) (emphasis added)

       The Pennsylvania Constitution likewise guarantees the inherent and indefeasible rights of

its citizens: “all men are born equally free and independent, and have certain inherent and

indefeasible rights, among which are those of enjoying and defending life and liberty, of acquiring,

possessing and protecting property and reputation, and of pursuing their own happiness.” See PA

CONST. art. I, § 1. In fact, our Constitution likewise explicitly prohibits the passage of laws that

abridge our civil rights: “[n]either the Commonwealth nor any political subdivision thereof shall

deny to any person the enjoyment of any civil right, nor discriminate against any person in the

exercise of any civil right.” See PA CONST. art. I, § 26.

       As the Pennsylvania Supreme Court has held: “within the concept of liberty protected by

the Fourteenth Amendment [is] the right to engage in any of the common occupations of life.



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The established doctrine… is that this liberty may not be interfered with, under the guise of

protecting the public interest, by legislative action which is arbitrary or without reasonable

relation to some purpose within the competency of the state to effect." Adler v. Montefiore

Hospital Asso., 453 Pa. 60, 72 (1972) (citing Meyer v. Nebraska 262 U.S. at 399, 400 (1923)).

       In Adler, the Pennsylvania Supreme Court reviewed whether a private physician

associated with a public teaching hospital was entitled to render what he considered

comprehensive medical treatment to his patients using hospital facilities and equipment, or

whether his right to provide treatment must yield to rules and regulations established by the

hospital. The hospital downgraded the physician’s employment from full-time to part-time,

which eliminated his ability to perform operations using the hospital’s facilities. Id. at 65-66.

Although the Court upheld the hospital rules, it confirmed the significant limitations on the

government’s interference into protected freedoms, like the right to work. "[A] governmental

purpose to control or prevent activities constitutionally subject to state regulation may not be

achieved by means which sweep unnecessarily broadly and thereby invade the area of protected

freedoms." Id. (citing NAACP v. Alabama, 377 U.S. 288 (1964)). Critically, a law “which

purports to be an exercise of the police power must not be unreasonable, unduly oppressive or

patently beyond the necessities of the case, and the means which it employs must have a real and

substantial relation to the objects sought to be attained. Under the guise of protecting the public

interests the legislature may not arbitrarily interfere with private business or impose unusual and

unnecessary restrictions upon lawful occupations." Id. (citing Gambone v. Commonwealth, 375

Pa. 547, 551 (1954)).




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                           ii. THE SAFER AT HOME RESTRICTIONS ARE AN
                               UNCONSTITUTIONAL LIMIT ON THE RIGHT TO WORK

        In the instant case, the Safer at Home Restrictions violate the protections enshrined in

Adler. The regulations set forth by Defendants are overbroad, in that they shutdown all indoor

dining, catering, and gyms, thereby depriving Plaintiff and others of the right to work, without

any study of the safety protocols able to be followed by individual businesses. Furthermore, the

Defendants have yet to publicly release any of their data showing how their regulations have a

real and substantial relation to the goal of stopping the spread of COVID-19. The regulations

also arbitrarily differentiate between businesses which are permitted to remain open, and those

which must close. For example, the Christmas Village and national big-box retailers are allowed

to remain open, despite the massive crowds of people they attract during the holidays, while

mom-and-pop restaurants, catering halls and gyms are forced to close, regardless of how busy

they become. Such ad hoc and irrational regulations violate the mandate of Adler, which forbids

imposing unusual and unnecessary restrictions upon lawful occupations under the guise if public

interest. Id. at 65-66.

        Government encroachment into the right to work via regulations and emergency orders in

the context of the COVID-19 pandemic was recently addressed in Cty. of Butler v. Wolf, 2020 U.S.

Dist. LEXIS 167544 (W.D. Pa. Sept. 14, 2020). The Court affirmed that substantive due process

includes the right of citizens to support themselves by engaging in their chosen occupation, and

invalidated Governor Wolf’s business closures. Id. at 5. The Court found “[t]here is no question…

that the Fourteenth Amendment recognizes a liberty interest in citizens… to pursue their chosen

occupation.” Id. at 79.

        In Cty. of Butler, the Court reviewed the constitutionality of public health measures enacted

by Governor Wolf and the Commonwealth of Pennsylvania to stop the spread of COVID-19,

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including orders closing “non-life sustaining” businesses, and stay-at-home requirements. The

challenge of this endeavor – the balance of constitutional freedoms versus a public health crisis –

was not lost on the Court. Nonetheless, the Court found that the government cannot restrict the

due process freedoms guaranteed by the Constitution:


               The unprecedented nature of the business closure—even in light of historic
               emergency situations—makes its examination difficult from a constitutional
               perspective. It simply does not neatly fit with any precedent ever addressed by our
               courts. Never before has the government exercised such vast and immediate power
               over every business, business owner, and employee in the Commonwealth. Never
               before has the government taken a direct action which shuttered so many businesses
               and sidelined so many employees and rendered their ability to operate, and to work,
               solely dependent on government discretion. As with the analysis of lockdowns, the
               unprecedented nature of the business shutdowns poses a challenge to its review.
               Nevertheless, having reviewed this novel issue in light of established Due
               Process principles, the Court holds that the business closure orders violated
               the Fourteenth Amendment.

               Id. at 74-75 (emphasis added).

       The Court found that the restrictions set forth by Governor Wolf were unconstitutional

because they had the potential, and actual effect, of destroying businesses and putting employees

out of work. Id. at 89. Although the defendants were acting hastily to prevent a public health

situation, they exercised “raw governmental authority in a way that could (and did) critically

wound or destroy the livelihoods of so many.” Id. at 90. The citizens of the Commonwealth

deserved an objective plan, the ability to determine with certainty how the critical classifications

were to be made, and a mechanism to challenge an alleged misclassification, but the arbitrary

design, implementation, and administration of the business shutdowns deprived the plaintiffs of

all protection. Id.

       As in Cty. Of Butler, the Defendants’ ongoing restrictions, including their Safer at Home

Restrictions, are likewise an arbitrary deprivation of Plaintiff’s constitutional right to work. Under



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the Constitution’s substantive due process protections, Plaintiff has the right to pursue his chosen

occupation. The Safer at Home Restrictions, however, have forced Plaintiff to lose their jobs,

livelihoods and, if prosecuted for violating the restrictions, potentially fines, jail time reputation,

Despite this significant encroachment, the Defendants have failed to provide to the public with any

of their rationale or data to support the Safer at Home Restrictions, and demonstrate their necessity

       A non-exhaustive list of the Defendants’ “findings” and “rationale” that they have failed

to explain or support with data, studies, and/or scientific methodology includes, but is not limited

to:

           a. The differentiation between “essential” business and “non-essential” business;

           b. That COVID-19 may remain viable for hours or days on surfaces;

           c. That group settings are at a heightened risk for transmission of COVID-19 when

               individuals leave and return;

           d. That construction creates a heightened risk for transmission of COVID-19 and

               should therefore be limited;

           e. That reopening in phases reduces the risk for transmission of COVID-19;

           f. That indoor exercise creates a heightened risk for transmission of COVID-19;

           g. That indoor dining creates a heightened risk for transmission of COVID-19;

           h. That indoor catering creates a heightened risk for transmission of COVID-19;

           i. That indoor theaters create a heightened risk for transmission of COVID-19;

           j. That outdoor sports create a heightened risk for transmission of COVID-19;

           k. The differentiation between small-business retail stores and national retailers;

           l. That gatherings with persons from different households creates a heightened risk

               for transmission of COVID-19;



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               m. That indoor facilities such as museums, concert halls, arcades, bowling alleys,

                  private clubs, and event centers create a heightened risk for transmission of

                  COVID-19;

        By failing to report the underlying data or studies surrounding the above-referenced

“findings” and “rationale” behind their regulations, the Defendants violated Philadelphia Home

Rule Charter § 8-407 because they passed arbitrary and inconsistent regulations, and the due

process protections of the Fourteenth Amendment.

        To date, the Defendants have not shown any analysis of whether their purported “findings”

and “rationale” will hurt, rather than help, the city. At the enactment of the Safer at Home

Restrictions, nearby counties remained operational and unrestricted, permitting indoor catering

and banquet events to continue, to the detriment of similarly-situated Philadelphia businesses, like

Plaintiff’s.

        In fact, the Center for Disease Control (hereinafter “CDC”), which the Defendants have

referenced since March 2020 as an authoritative agency with regard to information and guidance

on stopping the spread of COVID-19, does not recommend lockdowns and a total ban of indoor

catering, dining and other events. See supra. The CDC has published mitigation guidelines for the

restaurant industry. Nowhere in the guidelines does the CDC recommend that the restaurant

industry should or must be “locked down” to mitigate COVID-19 spread. See Centers for Disease

Control Guidelines, attached as Exhibit “D.”

        Moreover, at the last published Department of Public Health meeting minutes of September

10, 2020, Dr. Farley noted that indoor gyms were compliant with distancing, masking and

capacity restrictions, and that the Department of Health was just starting to monitor their

compliance with health restrictions. See Department of Public Health Meeting Minutes from



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September 10, 2020, attached as Exhibit “E.” To date, Defendants have not made the Department

of Health inspection data on indoor gyms publicly available, or any other data.

       Further, at the September 10, 2020 Department of Public Health meeting, Dr. Farley

indicated that even though Philadelphia’s restrictions on indoor dining were stricter than the rest

of the Commonwealth, other counties have not seen an increase of coronavirus cases due to indoor

dining. See Exhibit “E” at p. 2. The fact that the CDC has not issued any guidelines that suggest

a lockdown of restaurants, catering halls, and gyms would be necessary, couple with the lack of

Defendants’ own data, renders any argument that the public interest is supported by a lockdown

to be unsubstantiated.

       Before exercising “raw governmental authority that could critically wound or destroy the

livelihoods of so many,” Plaintiff and others deserved to see objective regulations supported by

scientific fact, an ability to analyze the data to see how and why specific regulations were made,

and a mechanism to challenge the regulation. See Cty. of Butler, at 90 (W.D. Pa. Sept. 14, 2020).

Instead, Defendant, the Philadelphia Department of Public Health, through its Board of Health, all

unelected officials who do not have legislative powers, enacted the Safer at Home Restrictions

pursuant to their unfettered and unchecked discretion. Their reasoning has not been explained, nor

has any appeal mechanism been provided. They did not follow the procedural requirements of the

Philadelphia Home Rule Charter. Simply put, the Defendants have created a system where they

can deprive citizens of their property rights, intrude on their business, and destroy their livelihood,

without any potential recourse for those affected by the government’s actions.




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           d. AN EMERGENCY INJUNCTION IS NECESSARY TO STOP THE
              DEFENDANTS FROM VIOLATING THE CONSTITUTION BY
              USURPING THE LEGISLATIVE FUNCTION AND DEPRIVING
              PLAINTIFF OF THE RIGHT TO WORK

       Preliminary injunctive relief is an equitable remedy available in equity actions. Barcia v.

Fenlon, 37 A.3d 1, 6 (Pa. Cmwlth. 2012). "A preliminary injunction is designed to preserve the

subject of the controversy in the condition in which it is when the order is made, it is not to

subvert, but to maintain the existing status quo until the legality of the challenged conduct can be

determined on the merits." Greater Nanticoke Area Education Association v. Greater Nanticoke

Area School District, 938 A.2d 1177, 1183 (Pa. Cmwlth. 2007).To issue a preliminary injunction

pursuant to Pa. R.C.P. § 1531(a), Plaintiff must show:

           a. An injunction is necessary to prevent immediate and irreparable harm that cannot

               be adequately compensated by damages;

           b. Greater injury will result from refusing an injunction than from granting it, and an

               injunction will not substantially harm other interested parties in the proceedings;

           c. A preliminary injunction will properly restore the parties to their status as it existed

               immediately before the alleged wrongful conduct;

           d. The moving party is likely to prevail on the merits;

           e. The injunction is reasonably suited to abate the offending activity; and

           f. A preliminary injunction will not adversely affect the public interest.

See e.g. Summit Towne Centre, Inc. v. Show of Rocky Mount, Inc., 573 Pa. 637, 646-47 (2003).




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                            i. PLAINTIFF WILL SUFFER IMMEDIATE AND
                               IRREPARABLE HARM

       A party seeking a preliminary injunction must show the injunction is necessary to prevent

immediate and irreparable harm that cannot be adequately compensated by damages. Com. Ex

rel. Corbett v. Snyder, 977 A.2d 28, 41 (Pa. Commw. Ct. 2009).

       This Honorable Court granted a preliminary injunction in SPTR, Inc. v. City of Phila,

2015 Phila. Ct. Com. Pl. LEXIS 280 at 17. In that case, Plaintiff was operating a beer garden in a

yard on their property, until the City issued a cease and desist order because the yard was not

properly zoned. Id. at 2-4. Profits from the beer garden were going to be donated to charity. Id.

at 2. In finding that an injunction was warranted to prohibit the City from shutting down the beer

garden, this Court found that Plaintiff suffered immediate and irreparable harm – namely, that

“several charitable organizations relied upon the beer garden for funding, including funding a

trip for a youth dance troupe to travel to New Orleans to teach local children, which would not

be possible without said funding.” Id. at 18. The Court indicated the license to operate a

business, such as Plaintiff’s, is a property right, which cannot be adequately compensated by

damages. Id. at 20.

       Here, Plaintiff will suffer similar immediate and irreparable harm from the Safer at Home

Restrictions, which provide the Board of Health with unchecked power to enforce mercurial

regulations and continuous close Plaintiff’s businesses, as well as, ban indoor dining. Plaintiff’s

businesses will be lost, their employees without jobs and plaintiff unable to provide themselves or

their families with a way of life they have worked so hard to build and have struggled to maintain

since Defendants began issuing shut down and restrictive operation Orders in March 2020. The

effect of the Safer at Home Restrictions will not only be felt by Plaintiff but will have reverberating

effects throughout the community.

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         Furthermore, the ongoing imposition of fines, costs and business closures at the hands of

the Defendants as they have assumed all three (3) branches of government is an immediate and

irreparable harm. Plaintiff has no recourse but to bow to the Defendants’ authority, and serve any

imposed penalties, unless Defendants’ power grab is placed in check and their Safer at Home

Restrictions are enjoined. Each unconstitutional and invalid encroachment on the Plaintiff’s

property by the Defendants inflicts new harm on Plaintiff, and those similarly situated.

                           ii. PLAINTIFF WILL SUFFER A GREATER INJURY THAN
                               DEFENDANTS

         "The accumulation of all powers, legislative, executive, and judiciary, in the same hands…

may justly be pronounced the very definition of tyranny." See The Federalist No. 47 (J. Cooke ed.

1961).

         The Defendants have violated the Pennsylvania Constitution’s prohibition on delegated

authority, as well as separation of powers, the Fourteenth Amendment’s due process guarantee of

the right to work, and the Philadelphia Home Rule Charter’s procedural protections against

arbitrary regulations. They have yet to provide the underlying data and rationale for their ban on

indoor dining, gyms and catering, while leaving other indoor facilities open to the public, and

permitting other mass gatherings in close environments, such as the Christmas Village. At the time

the Safer at Home Restrictions were enacted, nearby counties remained operational and

unrestricted, permitting indoor catering and catering events to continue. In light of such

inconsistent, unexplained, unjustified, and nonsensical reasons for restricting businesses, such as

Plaintiff’s, the Defendants have failed to demonstrate any harm if their power was placed in check

and their Safer at Home Restrictions enjoined.




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                           iii. A PRELIMINARY INJUNCTION WILL PRESERVE THE
                                STATUS QUO

       An injunction is proper to restore the parties to their status quo as it existed "immediately

prior to the alleged wrongful conduct." Summit Towne Ctr., Inc., 828 A.2d at 1001.

       This Court has found that the status quo was preserved when a business (the beer garden)

was operating prior to a cease order, and an injunction would return it to operation. SPTR, Inc.,

2015 Phila. Ct. Com. Pl. LEXIS 280 at 23. Here, enjoining the Safer at Home Restrictions would

prevent the city from shutting down Plaintiff’s business with aggressive and unnecessary

enforcement tactics, thus returning it to its unencumbered status before the Defendant’s

regulations.

                           iv. PLAINTIFF’S RIGHT TO RELIEF IS CLEAR

       Pursuant to the Pennsylvania Rules of Civil Procedure and case law, the party seeking an

injunction must show that their right to relief is clear. Anglo-Am. Ins. Co. v. Molin, 547 Pa. 504,

691 A.2d 929, A.2d 929, 933-34 (1997). Plaintiff, as well as all Philadelphians, have an absolute

right to their Constitutionally guaranteed rights and liberties and to be free from being subjected

to oppressive, arbitrary, overly broad and unsubstantiated restrictions that are derived from an

administrative agency’s abuse of authority and power that has been specifically prohibited by our

Supreme Court’s rulings.

       Plaintiff has a right to relief when the City is required to issue permits for the operation of

a business, but failed to follow the Philadelphia Code. SPTR, Inc., 2015 Phila. Ct. Com. Pl. LEXIS

280 at 23. In the instant case, Plaintiff cannot operate their business if the Defendants impose

regulations prohibiting its operation, and Defendants have not followed the required procedures,

as set forth in the Philadelphia Home Rule Charter. Moreover, Plaintiff’s constitutional rights are




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being actively violated by the Defendants, in their encroachment into the legislative, executive and

judicial branches of government, and impeding on Plaintiff’s right to earn a living.


                           v. AN INJUNCTION IS REASONABLY SUITED TO ABATE
                              THE OFFENDING ACTIVITY

       A preliminary injunction must also be reasonably suited to abate the offending

activity. Com. ex rel. Corbett v. Snyder, 977 A.2d 28, 48 (Pa. Commw. Ct. 2009). Here, an

injunction would stop the Defendants from enforcing the Safer at Home Restrictions, which are

unconstitutional. Thus, the offending activity would be prohibited, and abated, by the injunction.

                          vi. AN INJUNCTION IS IN THE PUBLIC INTEREST

       A party seeking an injunction must show that a preliminary injunction will not adversely

affect the public interest. Philadelphia v. District Council 33, AFSCME, 528 Pa. 355, 598 A.2d

256, 260-61 (1991).

       There is public interest in maintaining the guaranteed rights of the United States’

Constitution and Pennsylvania Constitution, including the right to work, and the right to be free

from usurpation of power by administrative agencies. The public has an interest in not having their

rights and way-of-life trampled by the arbitrary, unexplained, and unjustified conduct of the

Defendants. There is a public interest in avoiding Plaintiff’s economic destruction, and the

reverberating cataclysmic impact on the livelihoods of thousands of residents of Philadelphia

through the shutdown of small businesses, like Plaintiff’s. The vibrancy of neighborhoods,

maintained by a strong foundation of small businesses, would remain intact. Tens of thousands of

Philadelphians who depend on the restaurant industry for work and income, and to support their

families and feed their kids, will not be displaced. The city, already dealing with a crime epidemic,

will not be confronted with the sudden influx of thousands of newly unemployed citizens and a



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dearth of job opportunities, while the Defendants close the last of the remaining businesses.

Granting an injunction preserves the status quo. Denying an injunction will alter the nature of the

City of Philadelphia for years into the future.


            e. PRAYER FOR DECLARTORY JUDGMENT AS ANCILLARY RELIEF

        In any civil action, a party may include in the claim for relief a prayer for declaratory relief

and the practice and procedure shall follow, as nearly as may be, the rules governing that action.

See Pa.R.C.P. 1602. The Declaratory Judgments Act, which is to be liberally construed and

administered, was promulgated to settle and to afford relief from uncertainty and insecurity

with respect to rights, status, and other legal relations. Pa.Democratic Party v. Boockvar, 238

A.2d 345 (2020) (emphasis added); see also 42. Pa.C.S. §7541(a).

        The Act provides in pertinent part as follows:

                “Any person… whose rights, status, or other legal relations are affected by a statute,
                municipal ordinance...may have determined any question of construction or validity
                arising under the... statute, ordinance… obtain a declaration of rights, status, or
                other legal reations thereunder. Pa. Democratic Party, supra, quoting 42 Pa.C.S.
                §7533.

        As has been set forth at length herein, it is clear that Plaintiff’s Constitutional rights are

directly affected by the Defendants’ ongoing restrictions. Liberally construing and applying the

right to declaratory relief as is prescribed b y the Act and our Supreme Court, it is clear that Plaintiff

is entitled to declaratory relief from the uncertainty and insecurity that surrounds their

Constitutional rights as set forth herein. See Pa. Democratic Party, supra.

        Therefore, Plaintiff prays that this Court grant Declaratory Relief and Order that

Defendants’ Emergency Regulations are void and unenforceable for the following reasons:

            •   Defendants’ Emergency Regulations, including the Safer at Home Restrictions are

                are violative of Plaintiff’s Constitutional and Civil Rights;

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           •   Defendants’ Emergency Regulations, including the Safer at Home Restrictions

               violate the Non-Delegation and Separation of Powers of the Pennsylvania

               Constitution;

           •   Defendants’ Emergency Regulations, including the Safer at Home Restrictions

               violate the requirements of the Philadelphia Home Rule Charter, as well as, City

               Council’s intent.


   V.      CONCLUSION

        The liberties protected by the Constitution are not fair-weather freedoms that can be cast

aside in times of trouble, including during a pandemic. Cty. of Butler v. Wolf, 2020 U.S. Dist.

LEXIS 167544, at 99 (W.D. Pa. Sept. 14, 2020). The solution to a crisis can never be permitted to

supersede the liberty and freedom that stands as the bedrock of our society. Indeed, the

Constitution sets lines that may not be crossed. Id. at 100.

        The “Safer at Home” Restrictions violate bedrock constitutional principles of our

Commonwealth and our nation, namely, the prohibition against the delegation of power, as well

as the separation of powers, and the due process right to work. Contrary to these constitutional

guarantees, since March 2020 with emergency regulations, and most recently by enacting and

enforcing the Safer at Home Restrictions, Defendants have encroached into impermissible territory

across all three (3) branches of government – legislative, executive, and judicial. The accrual of

this unchecked power by Defendants is antithetical to the constitutional principles set forth in the

founding of our nation. As the Pennsylvania Supreme Court has held: "[t]he accumulation of all

powers, legislative, executive, and judiciary, in the same hands . . . may justly be pronounced the

very definition of tyranny." See Protz v. Workers’ Comp. Appeal Bd., 639 Pa. 645, 656 (2017) The

Federalist No. 47 (J. Cooke ed. 1961)

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       Additionally, the Safer at Home Restrictions, by placing arbitrary and unjustified

restrictions across entire industries, such as indoor dining and catering, impermissibly impedes on

the freedom to work. As set forth by Justice Douglas of the United States Supreme Court:

               The right to work, I had assumed, was the most precious liberty that man possesses.
               Man has indeed as much right to work as he has to live, to be free, to own property.
               The American ideal was stated by Emerson in his essay on Politics, 'A man has a
               right to be employed, to be trusted, to be loved, to be revered.' It does many men
               little good to stay alive and free and propertied, if they cannot work. To work means
               to eat. It also means to live. For many it would be better to work in jail, than to sit
               idle on the curb. The great values of freedom are in the opportunities afforded man
               to press to new horizons, to pit his strength against the forces of nature, to match
               skills with his fellow man.

               Barsky v. Board of Regents of University of State of New York, 347 U.S. 442, 472
               (1954) (Douglas, J., dissenting).

       An economy is not a machine that can be shut down and restarted at will by government.

It is an organic system made up of free people each pursuing their dreams. The ability to support

oneself is essential to free people in a free economy. Butler, 2020 U.S. Dist. LEXIS 167544, at

92. The ability to earn a living by pursing one's calling and to support oneself and one's family is

not an economic good, it is a human good. Id. at 93. This essential right and human good is

trampled by the ongoing arbitrary, unconstitutional actions of Defendants, and most recently with

the “Safer at Home” Restrictions.




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       Arbitrary has been defined by the Pennsylvania Supreme Court as “based on random or

convenient selection or choice rather than on reason or nature.” Thunberg v. Strause, 545 Pa. 607

(1996). Defendants’ ongoing restrictions, and most recently the Safer at Home Restrictions, have

never been supported with data, or undergone any of the constitutional and procedural safeguards

required to ensure that regulations are not ad hoc and irrational. This Honorable Court should not

stand for such an unprecedented power grab and shockingly arbitrary shutdown by the Defendants,

and must enjoin them from continuing to violate the rights of the citizens of Philadelphia.

                                             Respectfully Submitted,

                                             FRITZ & BIANCULLI, LLC


                                             By:    /s/ Brian E. Fritz
                                             BRIAN E. FRITZ, ESQUIRE (84044)
                                             WILLIAM A. WEISS, ESQUIRE (309817)
                                             Attorneys for Plaintiff, Philadelphia Restaurant
                                             Owners Against Lockdown, LLC




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                                 CERTIFICATE OF SERVICE

       I, Brian E. Fritz, Esquire, attorney for Plaintiff, hereby certify that a true and correct copy

of Plaintiff’s Complaint in Equity, Motion for Special and Preliminary Injunction, and

Memorandum of Law, were served on the following defendants:


                            JAMES KENNEY, in his official capacity
                              as Mayor of the City of Philadelphia
                                     City Hall, Rm. 204
                                   Philadelphia, PA 19107

                              THOMAS A. FARLEY, in his official
                                capacity as Health Commissioner
                                 1101 Market Street, 13th Floor
                                    Philadelphia, PA 19107

                                   CITY OF PHILADELPHIA
                                    1515 Arch Street, Suite 15
                                     Philadelphia, PA 19102

                   PHILADELPHIA DEPARTMENT OF PUBLIC HEALTH
                             1101 Market Street, 13th Floor
                                Philadelphia, PA 19107




                                              By:    /s/ Brian E. Fritz
                                              BRIAN E. FRITZ, ESQUIRE (84044)
                                              Attorneys for Plaintiff, Philadelphia Restaurant
                                              Owners Against Lockdown, LLC

DATE: December 18, 2020




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                                                               BOARD OF HEALTH: November 24, 2020
              CITY OF PHILADELPHIA                             LAW DEPARTMENT: November 24, 2020
              DEPARTMENT OF PUBLIC HEALTH                      RECORDS DEPARTMENT:



  EIGHTEENTH SUPPLEMENTAL EMERGENCY REGULATION GOVERNING
            THE CONTROL AND PREVENTION OF COVID-19
           (SAFER AT HOME FALL-WINTER RESTRICTIONS)


        WHEREAS, the Pennsylvania Disease Control and Prevention Act of 1955, 1956,
April 23, P.L. 1510, 35 P.S. § 52.1 et seq., (the DCPA) and Chapter 6-200 of The
Philadelphia Code authorize the Board of Health to establish lists of reportable diseases and
conditions, and further provide that the Board and the Department of Public Health are
responsible for implementing appropriate disease control and prevention measures in order to
limit the spread of disease in an epidemic emergency; and

       WHEREAS, the 2019 novel coronavirus disease, COVID-19, can cause severe
disease and death, particularly in older adult and other vulnerable populations; and

      WHEREAS, on March 6, 2020, in response to the emerging spread of COVID-19,
the Governor of Pennsylvania issued a Proclamation of Disaster Emergency; and

     WHEREAS, on March 11, 2020, the World Health Organization declared the
COVID-19 outbreak a pandemic, or global epidemic; and

     WHEREAS, on March 12, 2020, the Board of Health by emergency regulation added
COVID-19 to the City’s list of reportable and quarantinable diseases; and

       WHEREAS, on March 17, 2020, the Mayor and the Health Commissioner jointly
issued an Emergency Order prohibiting operation of non-essential businesses to prevent the
spread of COVID-19; and

       WHEREAS, on March 19, 2020, the Governor and the Secretary of the Pennsylvania
Department of Health issued orders requiring all non-life-sustaining businesses to close
across the Commonwealth, to help stop the spread of COVID-19 and the Governor and
Secretary updated the aforementioned orders and list of life-sustaining and non-life
sustaining businesses on March 20, 2020 and multiple times thereafter; and

       WHEREAS, on March 22, 2020, the Mayor and the Health Commissioner jointly
issued an Emergency Order Temporarily Prohibiting Operation of Non-Essential Businesses
and Congregation of Persons to Prevent the Spread of COVID-19, which superseded the
Emergency Order issued by the Mayor and Health Commissioner dated March 17, 2020, and
which was approved as a regulation of the City by the Board of Health on March 26, 2020,
which expressly authorized the Health Commissioner to issue such additional orders as the
Commissioner determines are necessary or appropriate to limit the spread of COVID-19; and
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       WHEREAS, on April 15, 2020, the Secretary of Health of the Commonwealth of
Pennsylvania issued an Order “Directing Public Health Safety Measures for Businesses
Permitted to Maintain In-person Operations,” which requires comprehensive safety measures
to be employed in all businesses maintaining physical operations, including standards for
cleaning and disinfecting high-touch areas, establishing protocols for businesses exposed to
probable or confirmed cases of COVID-19, limiting the numbers of employees on the
premises and ensuring access to protective and sanitary equipment and supplies; and

        WHEREAS, on April 23, 2020, the Governor announced a Plan for Pennsylvania
that set residents and businesses on a path to recovery from the COVID-19 pandemic while
continuing to protect life from the dangers of this deadly virus, which included, inter alia,
Red, Yellow, and Green Phases of reopening; and

        WHEREAS, the Mayor and Health Commissioner determined on May 29, 2020, that
Philadelphia could move to the Yellow Phase with additional, Philadelphia-specific
restrictions that would apply in addition to restrictions established by the Governor,
including limitations on outdoor dining, and executed an Order entitled “Emergency Order
Allowing Limited Reopening of Businesses, Advising Philadelphians That They are Safer at
Home, and Establishing Safety Measures to Prevent the Spread of 2019 Novel Coronavirus
(COVID-19): Yellow Phase of Reopening” (“Yellow Phase Order”) to implement that
decision; and

       WHEREAS, on or around May 28, 2020, the City’s Department of Public Health
released Safe Mode: Guidelines for Safer Operations During the COVID-19 Pandemic,
which has been periodically updated and which provides specific reopening guidance for
specific types of facilities; and

        WHEREAS, since that time, the Mayor and Health Commissioner, in recognition
that cautious reopening with constant review of potential impacts on public health is in the
best interests of Philadelphia, have issued a series of Orders gradually easing restrictions
with respect to many different types of business and activities; and

       WHEREAS, on June 26, 2020, the Mayor and Health Commissioner issued an order
requiring the wearing of masks in many indoor and outdoor situations, and on July 1, 2020,
the Governor issued a similar order; and

        WHEREAS, although the Governor announced that Philadelphia was authorized to
join other southeastern Pennsylvania counties in moving to the Green Phase of reopening on
June 26, 2020, the Mayor and Health Commissioner, in consideration of public health data
and the noted effects on public health in June and July in states that have hastily reopened,
the City had taken a cautious approach to moving to the Green Phase; and

        WHEREAS, on July 3, 2020, the Mayor and Health Commissioner issued an Order
that moved the City from the Yellow Phase to a Modified Green Phase and that, among other
things, generally increased the permitted capacity for outdoor gatherings and small events,
the rules for which were subsequently modified by further Orders on September 15, 2020
and October 23, 2020 to allow greater capacity at such events; and



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       WHEREAS, at this time the country is experiencing a sharp increase in COVID-19
case counts, repeatedly breaking daily records in November, and is currently averaging more
than 1,000 daily COVID-19 deaths (using a 7-day average); and

        WHEREAS, after a steady decline and plateauing of daily COVID-19 case counts in
Philadelphia beginning in May of this year, daily case counts have increased dramatically to
levels exceeding the peak experienced in April; and

       WHEREAS, the Department of Public Health has identified a recent, significant
uptick in percent positivity among those tested for COVID-19; and

       WHEREAS, these alarming national and local trends require tailored but significant
intervention to limit the community spread of COVID-19 and its attendant morbidity and
mortality; and

       WHEREAS, there is substantial evidence that widespread mask use can prevent the
spread of COVID-19, and observational data has suggested that people who wear masks and
become infected may be less likely to develop severe disease; and

        WHEREAS, the Department of Public Health and other public health experts have
identified that, although COVID-19 continues to be spread through a variety of settings and
activities, social gatherings, including small social gatherings, are a significant and
deceptively dangerous driver of the COVID-19 pandemic; and

        WHEREAS, the Department of Public Health has also identified indoor dining as a
significant driver of the COVID-19 pandemic, in part because it is not possible to wear a
mask while eating or drinking; and

        WHEREAS, indoor gatherings and other activities, including indoor physical activity
at gyms or other facilities, create significant opportunities for the transmission of COVID-19,
particularly when compared to outdoor gatherings and other activities and particularly when
participants are less transient; and

        WHEREAS, the spread of COVID-19 through outdoor gatherings and activities is
less likely than through indoor gatherings and activities, but still represents a significant risk,
particularly in the absence of strict mask usage, which is not possible when eating or
drinking; and

       WHEREAS, pursuant to authority set forth in The Philadelphia Code and The
Philadelphia Home Rule Charter, the Mayor has broad authority to set forth limitations on
public activities during a state of national health emergency; and

       WHEREAS, Sections 6-205 and 6-206 of The Philadelphia Code and applicable state
law provide that the Department of Public Health may by order forbid the congregation of
persons when necessary to prevent the further spread of a communicable and quarantinable
disease and may take such other measures as are necessary to prevent the spread of such
disease; and



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        WHEREAS, on November 16, 2020, the Mayor and the Health Commissioner issued an
“Emergency Order Concerning Additional Limitations on Visiting, Gatherings, Events and
Businesses for Fall/Winter 2020-21, Establishing Additional Safety Measures to Prevent the
Spread of the 2019 Novel Coronavirus (COVID-19) and Continuing to Advise That Philadelphians
Are Safer at Home,” (“November 16, 2020 Safer at Home Order”) which, inter alia, restricted
certain activities, including indoor and outdoor gatherings and educational, business, and other
activities, and modified the preexisting masking requirement, subject to certain exceptions and
other terms; and

        WHEREAS, the Board of Health agrees with these determinations, and has recognized that
the situation involving the COVID-19 pandemic is fast moving and often requires changes to
control measures both to impose additional measures and to roll back required measures when
appropriate; and

        WHEREAS, consistent with the foregoing, the Board hereby promulgates the below
Eighteenth Supplemental Emergency Regulation Governing the Control and Prevention of
COVID-19 (Safer at Home Fall-Winter Restrictions) to adopt the Mayor and Health
Commissioner’s November 16, 2020 Safer at Home Order, as a temporary regulation
effective upon delivery to the Department of Records, while the remaining procedures and
formalities of Section 8-407 are followed to promulgate these amendments as a permanent
regulation; and

        NOW, THEREFORE, the Board of Health hereby adopts the following regulation,
effective immediately:

       1.    This Emergency Regulation supplements the Philadelphia Department of Public
Health’s Regulations Governing the Control of Communicable and Non-communicable Diseases
and Conditions and its other emergency regulations governing the control and prevention of
COVID-19.

       2.     The Board hereby fully adopts the Mayor and Health Commissioner’s November
16, 2020 Safer at Home Order, which is attached hereto as Attachment A.

      3.      The Board’s emergency regulations governing the control and prevention of
COVID-19 are hereby modified to the extent they adopt emergency orders that are themselves
modified by the November 16, 2020 Order, in accordance with Section 1 of the November 16,
2020 Order.

       4.    This Emergency Regulation shall be effective upon filing with the Department of
Records and remain effective until expressly superseded or repealed by the Board at the conclusion
of the COVID-19 emergency.




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                            Attachment A
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      E.    This Order shall be effective at S p.m. on November 20, 2020, and shall
            expire at the end of January 1, 2021, unless otherwise rescinded,
            superseded, or amended by further Order.




Date: November 16, 2020
                                               Ja6°@F. Kenney, Ma
                                               City of Philadelphia




                                               Health Commissioner
                                               City of Philadelphia




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                                                                            City Council
                                  City of Philadelphia                      Chief Clerk's Office
                                                                            402 City Hall
                                                                            Philadelphia, PA 19107




                                        BILL NO. 200678


                                 Introduced December 3, 2020


                                     Councilmember Oh


                                       Referred to the
                        Committee on Public Health and Human Services


                                        AN ORDINANCE

Amending Chapter 6-200 of The Philadelphia Code, entitled “Preventive Medicine,” by
imposing duration limitations on emergency control measures, requiring Council approval of
emergency control measures in certain circumstances, and to make technical changes, all under
certain terms and conditions.

THE COUNCIL OF THE CITY OF PHILADELPHIA HEREBY ORDAINS:

SECTION 1. Chapter 6-200 of The Philadelphia Code is amended to read as follows:

                            CHAPTER 6-200. PREVENTIVE MEDICINE.

                                    *          *           *

§ 6-205. Emergency Epidemic Control.

 (1) Where a communicable disease which constitutes a serious danger to health is spreading
     either in the City or in the communities surrounding the City, and threatens to reach
     epidemic proportions unless immediately controlled; where the danger thereof is such that
     the Board does not have time to list the said disease as quarantinable and issue regulations
     for its effective control; and where the Mayor of the City has suspended the requirements
     of Section 8-407 of the Charter, the Department shall have the authority to issue orders,
     which shall be effective until the Board may meet and promulgate regulations, listing said
     disease as a quarantinable disease and providing for quarantine or isolation of persons
     who have, or are reasonably suspected of having, or have been exposed to such disease,
     providing for the control of animals, the control of environmental sanitation, and for such
     other measures as are necessary to prevent the spread of said disease. Any such orders
     shall include a termination date no more than 60 days from the date of effectiveness. The


 City of Philadelphia                          -1-
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                                      City of Philadelphia
 BILL NO. 200678 continued


        Department shall be required to request approval from Council to extend such order
        beyond the initially specified termination date.

§ 6-206. Prevention of Congregation of Persons.

  (2) Whenever an epidemic of a listed quarantinable disease or whenever an emergency as
      described in subsection 6-205(1) is found to exist or to be seriously threatened, the
      Department may in accordance with the regulations of the Board, or by order, as the case
      may be, forbid congregation of persons at schools, theaters, swimming places, or any
      public place where such measure is necessary to prevent the spread of such disease. Any
      such orders shall include a termination date no more than 60 days from the date of
      effectiveness. The Department shall be required to request approval from Council to
      extend such order beyond the initially specified termination date.

  (3) Whenever measures preventing the congregation of persons are promulgated by the
      Board in accordance with regulations of the Board, or by order, as the case may deem
      necessary to prevent the spread of the disease, such measure shall include a termination
      date no more than 60 days from the date of effectiveness. The Department shall be
      required to request approval from Council to extend such order beyond the initially
      specified termination date.

                                        *       *          *

SECTION 2. This Ordinance shall be effective immediately.


___________________________________
Explanation:

[Brackets] indicate matter deleted.
Italics indicate new matter added.




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                                 CITY OF PHILADELPHIA
                             DEPARTMENT OF PUBLIC HEALTH
                            MEETING OF THE BOARD OF HEALTH

                                   Thursday, September 10, 2020

The Philadelphia Board of Health held a special public meeting on Thursday, September 10,
2020. The meeting was held virtually using the GoToWebinar platform in light of restrictions
related to the ongoing COVID-19 pandemic, allowing access to the public via computer or other
device and via a toll-free phone number.

Board Members Present

Dr. Tyra Bryant-Stephens, Dr. Ana Diez-Roux, Dr. Thomas Farley, Dr. Marla Gold, Dr. Jennifer
Ibrahim, Dr. Scott McNeal, Dr. John Rich

WELCOME AND INTRODUCTIONS

Health Commissioner and Board President Thomas Farley, MD, MPH called the meeting to
order at 6:05 PM.

MINUTES

The Board unanimously approved the minutes from August 13, 2020.

BACKGROUND

Dr. Farley provided an update on the COVID-19 coronavirus pandemic. The Health Department
reports that case counts have been relatively level for a few weeks, albeit with a spike due to an
outbreak on Temple’s campus, then a drop after that. Hospitalizations continue to be low
throughout the entire region. The number of deaths is also continuing to drop, with only four
deaths in the last week of August, which is 98% below the peak week in April. There are about
60 testing sites and are receiving about 3,000 results per day. Contact tracing is happening, with
about 120 staff doing case investigations and contact tracing. They are reaching about 70% of
cases and about 75% of contacts. Mask use among people exiting retails store is approaching
95%. Through a state grant, Penn, Temple, and Jefferson health systems are working with
nursing homes and personal care homes to assist with testing, infection control, and response.


ELEVENTH SUPPLEMENTAL EMERGENCY REGULATION GOVERNING
THE CONTROL AND PREVENTION OF COVID-19 (INDOOR EXERCISE
AND RECREATION FACILITIES)

Jo Rosenberger-Altman, City of Philadelphia Law Department, presented a supplemental
regulation approving two interim orders on reopening indoor exercise gyms and recreation
facilities. Limitations in the orders include a barring of food or drink in the facilities, adequate
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spacing, and mask wearing. These orders are similar to other orders in terms or recommendations
made for safety.

Dr. Farley noted that the Health Department has, for the first time, begun inspecting gyms as a
result of this order and has found that the vast majority have been compliant. The inspections
look for mask use, adequate spacing between exercise machines, and adherence to capacity
limits.

Dr. Ibrahim moved; Dr. McNeal seconded.
Motion for approval of regulation approved unanimously.

TWELFTH SUPPLEMENTAL EMERGENCY REGULATION GOVERNING
THE CONTROL AND PREVENTION OF COVID-19 (INDOOR DINING AND
THEATER)

The second order, effective September 8, is about indoor dining and indoor theaters and
performance events. For indoor events, there are capacity limits and a barring of food or drink
service as well as social distancing and mask requirements. Indoor dining rules are more strict
than for the rest of the Commonwealth: for example, in addition to wearing masks servers must
wear face shields, only four or fewer people per table, no smoking or vaping areas, service at
bars is prohibited, alcohol service is limited to on-site consumption with a meal, and there are
additional capacity limits and a reiteration of indoor events capacity limits.

Dr. Farley mentioned that he has spoken with his counterparts in other counties and they haven’t
seen problems with an increase in cases associated with that activity. He feels that the greatest
risk is to the servers, who will come in contact with large numbers of unmasked people. The
Health Department is having volunteers visit restaurants to help educate them on the new
recommendations in addition to normal restaurant inspections.

Dr. McNeal moved; Dr. Ibrahim seconded.
Motion for approval of regulation approved unanimously.

ADJOURNMENT

Dr. Farley adjourned the meeting at 6:55 PM.
